Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 1 of 56 Page ID #:5290



 1   OFFICE OF GENERAL COUNSEL
 2
     U.S. HOUSE OF REPRESENTATIVES
     5140 O’Neill House Office Building
 3   Washington, D.C. 20515
 4   SHER TREMONTE LLP
     90 Broad Street, 23rd Floor
 5   New York, New York 10004
 6
     ARNOLD & PORTER
 7   601 Massachusetts Ave, NW
     Washington, D.C. 20001
 8
 9
     Counsel for the Congressional Defendants
10
11                         UNITED STATES DISTRICT COURT
12
                         CENTRAL DISTRICT OF CALIFORNIA
13
                                   SOUTHERN DIVISION
14
       JOHN C. EASTMAN                          Case No. 8:22-cv-00099-DOC-DFM
15
16                 Plaintiff,                   CONGRESSIONAL DEFENDANTS’
                                                BRIEF IN OPPOSITION TO
17     vs.                                      PLAINTIFF’S PRIVILEGE
                                                ASSERTIONS
18     BENNIE G. THOMPSON, et al.,
19                                              Date:     unscheduled
                   Defendants.                  Time:     9:00 a.m.
20                                              Location: Courtroom 9D
21
22
23
24
25
26
27
28



                        DEFENDANTS’ MEMORANDUM OF LAW
Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 2 of 56 Page ID #:5291



 1                                                      TABLE OF CONTENTS
 2 TABLE OF AUTHORITIES............................................................................................................ ii
 3 INTRODUCTION ............................................................................................................................ 1
   BACKGROUND............................................................................................................................... 2
 4
   STANDARD OF REVIEW............................................................................................................... 3
 5
   ARGUMENT.................................................................................................................................... 4
 6 I.   This Court Has Already Rejected Many of Dr. Eastman’s Arguments ................................ 5
 7                       A.    The Crime-Fraud Exception Prevents Dr. Eastman from Shielding the
                         Contested Documents................................................................................................. 5
 8
                         a.     Dr. Eastman’s Legal Advice Furthered the Fraud and Crimes Throughout
 9                       the Time Period Covered by the Subpoena................................................................ 6
10                       b.    United States v. Miller is an Outlier that Should Not Alter this Court’s
                         Analysis .................................................................................................................... 11
11
                         c.    Dr. Eastman’s Repeated Lies About Election Fraud Were—and Still Are—
12                       Dangerous ................................................................................................................ 13
                         d.         President Trump Likely Engaged in Common Law Fraud .......................... 22
13
                         B.         The Select Committee Subpoena Does Not Violate the First Amendment ... 23
14
     II.       Dr. Eastman Has Not Met His Burden to Establish an Attorney-Client or Agency
15             Relationship......................................................................................................................... 27
                         A.     Dr. Eastman Failed to Meet His Burden of Establishing Attorney-Client
16
                         Privilege as to the Documents Related to Purported Representation of Former
17                       President Trump or His Campaign.......................................................................... 27
                         B.     Dr. Eastman Has Not Met His Burden to Establish the Attorney-Client
18
                         Relationship as to Documents Related to Other Purported Clients......................... 32
19                       C.    At the Very Least, Dr. Eastman Must Produce Redacted Versions of Email
                         Threads .................................................................................................................... 34
20
     III.      Dr. Eastman Has Not Met His Burden to Establish Protection of the Work Product
21             Doctrine ............................................................................................................................... 36
22                       A.    Dr. Eastman Failed to Meet His Initial Burden to Invoke the Work Product
                         Doctrine.................................................................................................................... 36
23
                         B.         Dr. Eastman Waived His Claims to Protection of the Work Product Doctrine
24                                  40
                         C.    The Select Committee Has a Substantial Need for the Documents and
25
                         Cannot Obtain the Substantial Equivalent of the Documents Without Undue
26                       Hardship .................................................................................................................. 43
     CONCLUSION............................................................................................................................... 44
27
28

                                                                              i
                       CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 3 of 56 Page ID #:5292



 1                                            TABLE OF AUTHORITIES
 2
     Admiral Ins. Co. v. U.S. Dist. Ct. for Dist. of Ariz.,
 3
          881 F.2d 1486 (9th Cir. 1989).......................................................................44
 4
   Am. Fed’n of Lab. & Cong. of Indus. Orgs. v. Fed. Election Comm’n,
 5      333 F.3d 168 (D.C. Cir. 2003) ......................................................................24
 6
   Americans for Prosperity v. Bonta,
 7      141 S. Ct. 2373 (2021).................................................................................24
 8 Anderson v. Trustees of Dartmouth Coll., No. 19-CV-109,
 9           2020 WL 5031910 (D.N.H. Aug. 25, 2020)....................................................35
10 Atraqchi v. GUMC Unified Billing Servs.,
             788 A.2d 559 (D.C. 2002)............................................................................23
11
12 Barenblatt v. United States,
             360 U.S. 109 (1959) ....................................................................................23
13
     Bd. of Trustees of State Univ. of New York v. Fox,
14
            492 U.S. 469 (1989) ....................................................................................27
15
     Bean LLC v. John Doe Bank,
16         291 F. Supp. 3d 34 (D.D.C. 2018).................................................................26
17
     Bittaker v. Woodford,
18         331 F.3d 715 (9th Cir. 2003) ........................................................................44
19
   Boskoff v. Yano,
20      57 F. Supp. 2d 994 (D. Haw. 1998) ...............................................................34
21 Bowyer v. Ducey,
22           506 F. Supp. 3d 699 (D. Ariz. 2020)..............................................................14

23 Breon v. Coca-Cola Bottling Co. of New England,
             232 F.R.D. 49 (D. Conn. 2005).....................................................................35
24
25 Brock v. Loc. 375, Plumbers Int’l Union of Am., AFL-CIO,
             860 F.2d 346 (9th Cir. 1988) ........................................................................26
26
     Buckley v. Valeo,
27
           424 U.S. 1 (1976) ................................................................................. 25, 26
28

                                                             ii
                   CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 4 of 56 Page ID #:5293



 1 Burroughs v. United States,
             290 U.S. 534 (1934) ....................................................................................25
 2
     Clapper v. Amnesty Int’l USA,
 3
          568 U.S. 398 (2013) ....................................................................................26
 4
   Constantino v. Detroit, No. 20-014780
 5      (Wayne Cnty. Cir. Ct. 2020).........................................................................14
 6
   Donald J. Trump for President, Inc. v. Boockvar,
 7      502 F. Supp. 3d 899 (M.D. Pa. 2020) ............................................................22
 8 Donald J. Trump for President, Inc. v. Sec’y of Pa.,
 9           830 F. App’x 377 (3d Cir. 2020) ...................................................................14
10 Durling v. Papa John’s Int’l, Inc.,
             No. 16-cv-3592, 2018 WL 557915 (S.D.N.Y.)................................................36
11
12 Eastman v. Thompson et al.,
             No. 1:21-cv-03273 (D.D.C. 2021).................................................................. 2
13
     Eastland v. U. S. Servicemen’s Fund,
14
           421 U.S. 491 (1975) .............................................................................. 25, 26
15
     Exxon Corp. v. FTC,
16        589 F.2d 582 (D.C. Cir. 1978) ......................................................................26
17
     Herbert v. Lando,
18        441 U.S. 153 (1979) ..................................................................................... 3
19
   In re Bonanno,
20        344 F.2d 830 (2d Cir. 1965) ................................................................... 29, 34
21 In re Grand Jury Investigation,
22           810 F.3d 1110 (9th Cir. 2016)..................................................................... 5, 6

23 In re Grand Jury Proc. (Corp.),
             87 F.3d 377 (9th Cir. 1996) ........................................................................... 5
24
25 In re Pac. Pictures Corp.,
             679 F.3d 1121 (9th Cir. 2012)................................................................. 28, 34
26
     In re W/B Assocs.,
27
           307 B.R. 476 (Bankr. W.D. Pa. 2004)............................................................31
28

                                                            iii
                   CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 5 of 56 Page ID #:5294



 1 John Doe No. 1 v. Reed,
            561 U.S. 186, 200 (2010) .............................................................................26
 2
     Kelly v. Commonwealth of Pa.,
 3
            No. 68-MAP-2020 (Pa. 2020).......................................................................22
 4
   Perry v. Schwarzenegger,
 5       591 F.3d 1147 (9th Cir. 2010).......................................................................27
 6
   Reavis v. Metro. Prop. & Liab. Ins. Co.,
 7       117 F.R.D. 160 (S.D. Cal. 1987) ...................................................................45
 8 Reiserer v. United States,
 9          479 F.3d 1160 (9th Cir. 2007) ......................................................................28
10 Repub. Nat’l Comm. v. Pelosi (“RNC”),
            No. 22-659, 2022 WL 1294509 (D.D.C.) ............................................ 24, 25, 27
11
12 Rockwell Int’l Corp. v. U.S. Dep’t of Just.,
            235 F.3d 598 (D.C. Cir. 2001) ......................................................................41
13
     Small v. Fritz Cos., Inc.,
14
           65 P.3d 1255 (Cal. 2003) ...........................................................................23
15
     Senate Permanent Subcomm. v. Ferrer,
16         199 F. Supp. 3d 125 (D.D.C. 2016) ...............................................................25
17
     Solis v. Taco Maker, Inc.,
18          No. 1:09-CV-3293, 2013 WL 4541912 (N.D. Ga.) ..........................................31
19
   Trump v. Raffensperger,
20      No. 2020CV343255 (Ga. Super. Ct., Fulton Cnty.)..........................................15
21 Trump v. Thompson,
22          20 F.4th 10 (D.C. Cir. 2021).........................................................................25

23 United States v. Bingert,
            No. 21 (D.D.C. 2022) ..................................................................................13
24
25 United States v. Bozell, No. 21-cr-216,
            2022 WL 474144 (D.D.C. 2022)...................................................................12
26
     United States v. Bryan,
27
           72 F. Supp. 58 (D.D.C 1947).................................................................. 25, 26
28

                                                           iv
                   CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 6 of 56 Page ID #:5295



 1 United States v. Caldwell, No. 21-cr-28, 2021
            WL 6062718 (D.D.C. 2021) .........................................................................12
 2
     United States v. Deloitte LLP,
 3
           610 F.3d 129 (D.C. Cir. 2010) ......................................................................41
 4
   U.S. ex rel. Giles v. Sardie,
 5       191 F. Supp. 2d 1117 (C.D. Cal. 2000) ..........................................................31
 6
   United States v. Fischer, No. 1:21-CR-00234,
 7       2022 WL 782413 (D.D.C. 2022)...................................................................12
 8 United States v. Grider, No. 21-cr-22,
 9          2022 WL 392307 (D.D.C. 2022)...................................................................13
10 United States v. Lawrence,
            189 F.3d 838 (9th Cir. 1999) ......................................................................... 6
11
12 United States v. Martin,
            278 F.3d 988 (9th Cir. 2002) ......................................................................... 4
13
     United States v. McHugh, No. CR 21-453,
14
           2022 WL 1302880 (D.D.C. 2022) .................................................................13
15
     United States v. Miller, No. 21-CR-119,
16         2022 WL 823070 (D.D.C. 2022)...................................................................13
17
     United States v. Montgomery, No. 21-cr-46,
18         2021 WL 6134591 (D.D.C. 2021) .................................................................. 7
19
   United States v. Mostofsky, No. 21-cr-138,
20       2021 WL 6049891 (D.D.C. 2021) .................................................................. 7
21 United States v. Nordean, No. 21-cr-175, 2021
22          WL 6134595 (D.D.C. 2021) .......................................................................... 7

23 United States v. Puma, No. 21-cr-454,
            2022 WL 823079 (D.D.C. 2022)...................................................................13
24
25 United States v. Reffitt, No. 21-CR-32,
            2022 WL 1404247 (D.D.C. 2022) .................................................................13
26
     United States v. Ruehle,
27
           583 F.3d 600 (9th Cir. 2009) ......................................................................... 4
28

                                                           v
                   CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 7 of 56 Page ID #:5296



 1 United States v. Richey,
               632 F.3d 559 (9th Cir. 2011) ........................................................................36
 2
     United States v. Sandlin, No. 21-cr-88,
 3
           2021 WL 5865006 (D.D.C. 2021) .................................................................12
 4
   United States v. Sanmina Corp.,
 5       968 F.3d 1107 (9th Cir. 2020)..................................................36, 41, 42, 43, 44
 6
   United States v. Zolin,
 7       491 U.S. 554 (1989) ..................................................................................... 6
 8 Weil v. Inv./Indicators, Rsch. & Mgmt., Inc.,
 9             647 F.2d 18 (9th Cir. 1981) ...................................................................... 4, 44
10 Constitutional Provision & Statutes
11 U.S. Const. Art. VI, cl. 3.......................................................................................42
12
     18 U.S.C. § 371 ...................................................................................................11
13
     18 U.S.C. § 1512 ...................................................................................6, 11, 12, 13
14
     Rules
15
16 Fed. R. Civ. P. 34(b)(2)(C)....................................................................................36
17 Fed. R. Crim. P. 29 ...................................................................................................................... 13
18
     Fed. R. Evid. 104(a) .............................................................................................. 6
19
20
     Other Authorities
21
22 8 Charles Alan Wright & Arthur R. Miller,
               Federal Practice & Procedure § 2024 (3d ed. 2020) .......................................42
23
   CISA, Joint Statement from Elections Infrastructure Government Coordinating Council
24
        & The Election Infrastructure Sector Coordinating Executive Committees
25      (Nov. 12, 2020) ..........................................................................................20
26 Clara Hendrickson, et al., Antrim County hand tally affirms certified election results,
27             (Dec. 17, 2020)............................................................................................ 7
28

                                                                         vi
                       CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 8 of 56 Page ID #:5297



 1 Gabriel Sterling, Georgia Secretary of State Office Press Conference Transcript January
               4: Trump Call, Senate Runoff Election,
 2             Rev Blog (Jan. 4, 2022) ...............................................................................16
 3
   Joe Hoft, Auditor Bryan Geels Identified Nearly 100,000 Ballots in Georgia that Were
 4      Invalid-Raffensperger Blew It Off, Misrepresented the Data, and Certified the
        2020 Election Anyway, Gateway Pundit (Feb. 11, 2022) ..................................16
 5
 6 John C. Eastman, The American Mind, The Constitutional Authority of State to Choose
               Electors, The American Mind (Dec. 1, 2020)..................................................10
 7
     Jordan Fischer, The only judge to dismiss obstruction charges in a Capitol riot case is
 8
           “seriously contemplating” reconsidering.....................................................................12
 9
     Josh Gerstein, Barr OK for Election-fraud Investigations Roils Justice Department,
10         Politico (Nov. 9, 2020, 9:04 PM) ...................................................................................21
11
     Katherine Fung, Trump Claimed Thousands of Dead Voted in Georgia Election,
12        Investigation Found Only Four, Newsweek (Dec. 27, 2021).............................19
13 Letter from Chairman Bennie G. Thompson, Chair of the Select Comm. to Investigate the
14             January 6th Attack on the U.S. Capitol, to John Eastman (Nov. 8, 2021) ............. 2
15 Letter from Sec’y of State Brad Raffensperger to Congress (Jan. 6, 2021) ...................42
16 Mark Niess, Georgia Elections Chief Counters False Claims in Letter to Congress,
17             Atlanta J.-Const. (Jan. 7, 2021)................................................................................................................... 42
18 Mem. from Att’y Gen. to U.S. Att’ys (Nov. 9, 2020)................................................................................ 21
19
   Nathaniel Rakich, Why So Few Absentee Ballots Were Rejected in 2020, FiveThirtyEight
20      (Feb. 17, 2021, 6:00 AM).............................................................................15
21 Paul Rice, Attorney-Client Privilege in the United States § 11:21 (2014) .....................36
22
   Philip Bump, Discussing the Gaps in ‘2000 Mules’ with Dinesh D’Souza, Wash. Post
23       (May 17, 2022)..................................................................................................................22
24 The never-before-told backstory of Pence’s Jan. 6 argument, Politico (Feb. 18, 2022,
25       5:00 AM) ...........................................................................................................................43
26 Tony Adams, et al., Scientists say no credible evidence of computer fraud in the 2020
               election outcome, but policymakers must work with experts to improve confidence
27
               (Nov. 16, 2020) ..........................................................................................21
28

                                                                                  vii
                        CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 9 of 56 Page ID #:5298



 1 William Cummings et al., By the Numbers: President Donald Trump’s Failed Efforts to
         Overturn the Election, USA Today (Jan. 6, 2021) ...........................................14
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                  viii
              CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 10 of 56 Page ID
                                      #:5299


 1                                     INTRODUCTION
 2         Of the 3,907 documents over which Plaintiff John Eastman initially asserted
 3 privilege, 601 are currently before the Court. Each of Dr. Eastman’s remaining privilege
 4 assertions within this population of documents fails for three reasons.
 5         First, this Court has already rejected many of Dr. Eastman’s arguments. As this
 6 Court already held, the crime-fraud exception uncloaks any privilege shield that may
 7 otherwise exist for many of the contested documents. Dr. Eastman has reiterated his
 8 debunked claims that the 2020 Presidential election was stolen. These claims were false
 9 when Dr. Eastman and President Trump originally made them and they helped lead to
10 one of the most tragic episodes in this Nation’s history. As to his argument that the
11 subpoena issued by the Select Committee to Chapman University violates the First
12 Amendment, Dr. Eastman’s arguments fail for the same reasons they failed the prior
13 times Dr. Eastman raised this argument.
14         Second, Dr. Eastman has failed to meet his burden to establish entitlement to the
15 attorney-client privilege for the 162 documents over which he claims such privilege.
16 This Court directed Dr. Eastman to file “with the Court and the Select Committee
17 evidence of all attorney-client and agent relationships asserted in the privilege log” and to
18 “provide evidence documenting any attorney-client relationships that existed with his
19 clients.” Order Re. Briefing Sched. at 1, May 12, 2022, ECF 343. Absent such
20 contemporaneous written documentation, this Court ordered Dr. Eastman to provide “a
21 sworn statement from an attorney, client, or agent in each relationship attesting that
22 written documentation does not exist and specifying the timing and scope of the
23 relationship.” Id. at 2 (emphasis added). Dr. Eastman has failed to introduce a single
24 contemporaneous document reflecting any attorney-client or agency relationship.
25 Instead, he provides conclusory declarations (one unsigned) that nowhere attest that
26 “written documentation does not exist[,]” and fail to “confirm the timing and scope of
27 each attorney relationship and each agent relationship[.]” Id. at 1, 2. As to former
28

                                                 1
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 11 of 56 Page ID
                                      #:5300


 1 President Trump, many of the documents at issue include the same third parties that this
 2 Court already concluded destroyed any privilege.
 3         Third, Dr. Eastman is not entitled to work product protection for the 557
 4 documents over which he claims it. As before, Dr. Eastman has failed to show that the
 5 documents were prepared by a party, or a party’s representative, in anticipation of
 6 litigation. And, in any event, the Select Committee has a substantial need to obtain these
 7 documents quickly.
 8                                      BACKGROUND
 9         This Court and Congressional Defendants have already described in detail the
10 tragic events of January 6, 2021, and Dr. Eastman and former President Trump’s actions
11 leading up to and on that day. See Order Re. Privilege Docs. at 3-11, Mar. 28, 2022, ECF
12 260; Cong. Defs.’ Br. Opp’n Pl’s. Privilege Assertions at 3-6, Mar. 3, 2022, ECF 164-1;
13 Defs.’ Mem. Opp’n Pl’s. Emergency Mot. at 2-5, ECF 23-1. Congressional Defendants
14 rely on those descriptions here.
15         The Select Committee issued a subpoena to Dr. Eastman in furtherance of its duty
16 to investigate the facts, circumstances, and causes of the attack on January 6. Rather than
17 cooperate with the Select Committee, Dr. Eastman refused to produce any documents
18 responsive to that subpoena and repeatedly invoked his Fifth Amendment privilege
19 during his deposition. Dr. Eastman also filed suit in the District of Columbia asking that
20 court to invalidate a subpoena issued to Dr. Eastman’s cell phone service provider
21 seeking non-content information. Not only has Dr. Eastman asked to be relieved from
22 any obligation to comply with the subpoena in that litigation, but he also asked that court
23 to declare the Select Committee itself void. See Compl. Prayer for Relief ¶¶ b-c,
24 Eastman v. Thompson et al., No. 21-cv-03273, ECF 1, (D.D.C. Dec. 14, 2021).
25         Because Dr. Eastman resisted the subpoena issued directly to him, the Select
26 Committee issued a subpoena to Dr. Eastman’s former employer, Chapman University.
27 Letter from Chairman Bennie G. Thompson, Chair of the Select Comm. to Investigate the
28

                                                2
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 12 of 56 Page ID
                                      #:5301


 1 January 6th Attack on the U.S. Capitol, to John Eastman (Nov. 8, 2021). 1 The day before
 2 the subpoena’s deadline, Dr. Eastman initiated this action seeking to enjoin Chapman
 3 from producing responsive records. At a hearing in January, the parties agreed that Dr.
 4 Eastman would expeditiously produce a privilege log with particularized assertions of
 5 privilege. The Court denied Dr. Eastman’s application to maintain a temporary
 6 restraining order, rejected his First Amendment, Fourth Amendment, and Congressional
 7 authority claims, and ordered Dr. Eastman to produce all non-privileged, responsive
 8 documents to the Select Committee on a rolling basis. The Court also denied Dr.
 9 Eastman’s blanket attorney-client privilege and work product protection claims with the
10 proviso that Dr. Eastman retained the right to raise these claims as to specific documents
11 during production. See Order Den. Pl’s. Mot. Prelim. Inj. at 2, Jan. 25, 2022, ECF 43.
12            Over the next four months, Dr. Eastman produced privilege logs broadly asserting
13 attorney-client and agency relationships but providing little detail about the nature of the
14 asserted privilege. This Court granted Congressional Defendants’ request for
15 prioritization of and briefing related to the privilege assertions on Dr. Eastman’s January
16 4-7 document logs and set a hearing to address these issues. See Order Setting Briefing
17 Sched. at 2, Feb. 14, 2022, ECF 104. Soon after the hearing, this Court issued an order
18 upholding Dr. Eastman’s privilege claims over certain documents while denying his
19 privilege claims over many other documents. See ECF 260 at 44. Consequently, the
20 parties revised their respective privilege claims and objections and now address the 601
21 documents over which Dr. Eastman maintains his assertions of privilege and that are
22 currently before the Court.
23                                     STANDARD OF REVIEW
24             “Evidentiary privileges in litigation” like those at issue here “are not favored.”
25 Herbert v. Lando, 441 U.S. 153, 175 (1979). The burden of proving that the attorney-
26 client privilege or work product protection applies rests with the party asserting the
27
28    1
          Available at https://perma.cc/ZV8J-P2QS.
                                                     3
                   CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 13 of 56 Page ID
                                      #:5302


 1 privilege. Weil v. Inv./Indicators, Rsch. & Mgmt., Inc., 647 F.2d 18, 25 (9th Cir. 1981).
 2 “[A] party asserting the attorney-client privilege has the burden of establishing the
 3 relationship and the privileged nature of the communication.” United States v. Ruehle,
 4 583 F.3d 600, 607 (9th Cir. 2009) (internal quotation omitted). “Because it impedes full
 5 and free discovery of the truth, the attorney-client privilege is strictly construed.” United
 6 States v. Martin, 278 F.3d 988, 999 (9th Cir. 2002), as amended on denial of reh’g (Mar.
 7 13, 2002) (internal quotation omitted).
 8                                          ARGUMENT
 9            Following this Court’s March 28 Order, and with the additional information the
10 Select Committee has learned in the months since Congressional Defendants filed their
11 brief regarding documents in the January 4 through 7 timeframe, it is evident that the
12 documents currently before the Court are extremely important to the Select Committee’s
13 work.
14            Because Congressional Defendants must challenge the privilege assertions without
15 seeing the documents, Congressional Defendants cannot respond to many of Dr.
16 Eastman’s representations about particular documents. Congressional Defendants,
17 moreover, were compelled to base their objections on Dr. Eastman’s vague and summary
18 representations in his privilege log. For the first time since he began producing privilege
19 logs, Dr. Eastman provides some detail about why he believes certain documents are
20 privileged. It is only in his current brief, five months into the privilege log process, that
21 Dr. Eastman links particular documents to particular cases. See Pl’s. Br. Supp. Privilege
22 Assertions at 20-23, May 19, 2022, ECF 345. This effort comes too late and does not
23 shield the documents at issue from the crime-fraud exception to any privilege claim.
24            This Court’s March 28 order already rejected many of the argument Dr. Eastman
25 makes now. This Court should reject Dr. Eastman’s effort to revisit them. 2 As to Dr.
26
      2
          This Court also concluded that Dr. Eastman’s unauthorized use of Chapman’s email
27 server did not destroy attorney-client privilege. See ECF 260 at 15-20. Because Dr.
28 Eastman’s renewed claims of privilege fail for the various reasons discussed below,

                                                  4
                   CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 14 of 56 Page ID
                                      #:5303


 1 Eastman’s other arguments, he fails to meet his burden to establish either attorney client
 2 privilege or work product protection.
 3 I.       This Court Has Already Rejected Many of Dr. Eastman’s Arguments
 4          Rather than apply this Court’s Order addressing the January 4-7, 2021 documents,
 5 Dr. Eastman asks this Court to reverse its prior decisions. There is no reason to do so.
 6          A.    The Crime-Fraud Exception Prevents Dr. Eastman from Shielding the
 7                Contested Documents
 8          For the same reasons the Court found the crime-fraud exception applicable to the
 9 January 4-7 documents, it should review the remaining materials to determine whether
10 the legal advice reflected in them was used in furtherance of the former President’s
11 crimes.
12          As this Court has explained, communications in which a “client consults an
13 attorney for advice that will serve him in the commission of a fraud or crime” are not
14 privileged from disclosure. In re Grand Jury Investigation, 810 F.3d 1110, 1113 (9th
15 Cir. 2016) (internal quotations omitted); see ECF 260 at 30. This exception to the
16 attorney-client privilege applies where (1) “the client was engaged in or planning a
17 criminal or fraudulent scheme when it sought the advice of counsel to further the
18 scheme,” and (2) “the attorney-client communications for which production is sought are
19 sufficiently related to and were made in furtherance of [the] intended, or present,
20 continuing illegality.” Id. (internal quotation marks omitted). This is true even if the
21 crime or fraud is ultimately unsuccessful. In re Grand Jury Proc. (Corp.), 87 F.3d 377,
22 382 (9th Cir. 1996).
23
24
25 Congressional Defendants do not address the Chapman University email use in this
      filing. Instead, Congressional Defendants cross-reference and stand by their arguments
26 in their prior briefing. See ECF 164-1 at 24-28; ECF 343 at 2 (permitting the parties to
27 cross reference or restate arguments made in their previous briefings for the January 4-7,
      2021). Congressional Defendants, however, do not abandon the issue and reserve the
28
      right to raise it should it be relevant as the case proceeds.
                                                 5
                 CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 15 of 56 Page ID
                                      #:5304


 1         In camera review of the contested communications is warranted when the party
 2 seeking production has provided “a factual basis adequate to support a good faith belief
 3 by a reasonable person that in camera review of the materials may reveal evidence to
 4 establish the claim that the crime-fraud exception applies.” United States v. Zolin, 491
 5 U.S. 554, 572 (1989) (citation omitted). The party seeking disclosure must ultimately
 6 establish applicability of the exception by a preponderance of the evidence, meaning “the
 7 relevant facts must be shown to be more likely true than not.” United States v. Lawrence,
 8 189 F.3d 838, 844 (9th Cir. 1999); see Fed. R. Evid. 104(a).
 9         This Court has already held that a preponderance of the evidence implicates
10 President Trump in the commission of two federal felonies: (1) attempted obstruction of
11 an official proceeding, 18 U.S.C. § 1512(c)(2); and (2) conspiracy to defraud the United
12 States, 18 U.S.C. § 371. ECF 260 at 36 (“[T]he Court finds it more likely than not that
13 President Trump corruptly attempted to obstruct the Joint Session of Congress on January
14 6, 2021.”); id. at 40 (“[T]he Court finds that it is more likely than not that President
15 Trump and Dr. Eastman dishonestly conspired to obstruct the Joint Session of Congress
16 on January 6, 2021.”).
17            a. Dr. Eastman’s Legal Advice Furthered the Fraud and Crimes
18               Throughout the Period Covered by the Subpoena

19          Public reporting and evidence available to the Committee establish a good-faith
20 belief that Dr. Eastman’s legal assistance was used throughout the period covered by the
21 subpoena in furtherance of those crimes. Defendants therefore ask the Court to review
                                                                        3
22 the remaining documents for application of the crime-fraud exception.
23
      3
24   Congressional Defendants are aware that the Court is already conducting an in-camera
   review of the contested documents. ECF 343 at 2. Congressional Defendants believe
25 that the evidence supports including an assessment of the crime-fraud exception in that
26 review. The Court’s in-camera knowledge of the communications may then help
   determine whether specific documents satisfy the preponderance threshold. See In re
27 Grand Jury Investigation, 810 F.3d at 1114 (requiring a district court to “examine the
28 individual documents themselves to determine that the specific attorney-client

                                                 6
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 16 of 56 Page ID
                                      #:5305


 1         Dr. Eastman’s role in the effort to obstruct the counting of electoral votes and the
 2 conspiracy to prevent the certification of President Biden’s electoral victory is, by now,
 3 well-established. See, e.g., ECF 260 at 3-8. Two additional points bear emphasis. First,
 4 the evidence shows that Dr. Eastman’s role extended well beyond the January 4-7 period.
 5 Second, President Trump’s and Dr. Eastman’s criminal obstruction of the electoral count
 6 was not merely limited to their efforts to pressure Vice President Pence in the days before
 7 January 6th; rather, it was the culmination of a monthslong effort to corruptly subvert the
 8 results of the 2020 election. Most prominently, new evidence produced by Dr. Eastman
 9 illustrates his contemporaneous involvement with the submission of the fraudulent slates
10 of Trump electors that were the basis for his legal arguments regarding the vice president.
11         From the very outset, Dr. Eastman’s theory of Vice Presidential power was
12 predicated upon the existence of “competing” slates of electors. Indeed, as the Court
13 recognized in ordering one document from the January 4-7 period produced to the Select
14 Committee pursuant to the crime-fraud exception, a lawyer identified in Dr. Eastman’s
15 recent Declaration as an attorney on the “Trump legal team” suggested this “‘President of
16 the Senate’ strategy” as early as December 13, 2020. 4 See ECF 260 at 30 n.193
17 (discussing the “November 18, 2020 memo from Kenneth Chesebro”). As the documents
18 Dr. Eastman produced to the Select Committee only after the Court ordered the
19 submission of a final privilege log show, Dr. Eastman was communicating with this
20 lawyer on these same issues as early as December 7, 2020. On that day, Dr. Eastman
21 forwarded to Rudy Giuliani a copy of a memo written on November 18, 2020, by this
22 same “Trump legal team,” proposing that Trump electors “cast their votes, and then send
23 their votes to the President of the Senate in time to be opened on January 6 . . . .”5
24
25 communications for which production is sought are ‘sufficiently related to’ and were
26 made ‘in furtherance of the intended, or present, continuing illegality,’” after movant has
   established a prima facie case that the exception applies).
27 4
     Ex. A, Dec. 13, 2021, at 1.
28 5
     Ex. B, Dec. 7, 2020, at 1, 2.
                                                  7
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 17 of 56 Page ID
                                      #:5306


 1         As detailed in this strategy, the Vice President would “firmly take the position that
 2 he, and he alone, is charged with the constitutional responsibility not just to open the
 3 votes, but to count them—including making judgments about what to do if there are
 4 conflicting votes.”6
 5         As the evidence makes clear, however, Dr. Eastman himself believed that these
 6 “alternate” slates of electors—the very “conflicting” votes that purportedly invoked the
 7 Vice President’s authority—had no legal validity unless they were appointed by a state
 8 legislature. On December 19, 2020, in an email exchange with an individual with whom
 9 Dr. Eastman exchanged multiple emails in the post-election period, Dr. Eastman advised
10 that the seven Trump/Pence slates of electors “will be dead on arrival in Congress”
11 “unless those electors get a certification from their State Legislators.”7 Nevertheless,
12 only four days later, and without the certification Dr. Eastman acknowledged was
13 required, Dr. Eastman circulated a memorandum indicating that “7 states ha[d]
14 transmitted dual slates of electors to the President of the Senate” and urging the Vice
15 President to disregard the Biden electors from those seven States, “gavel[ing] President
16 Trump as re-elected” or “send[ing] the matter to the House” for resolution. 8
17         After acknowledging his understanding only four days earlier that these slates
18 would be “dead on arrival,” Dr. Eastman told a representative of the Trump campaign
19 that “[t]he fact that we have multiple slates of electors demonstrates the uncertainty of
20 either. That should be enough.”9 In the days following January 6th, Dr. Eastman again
21
      6
     Ex. A at 1 (emphasis added).
22 7
     Ex. D, Dec. 19, 2020 (Dr. Eastman describing his correspondence with this individual
23 as “our project” and “our report”), Chapman043035.
24 8 Ex. E, Dec. 23, 2020, regarding Jan. 6 scenario; see also READ Trump lawyer’s memo
   on six-step plan for Pence to overturn the election, CNN (Sept. 21, 2021),
25
   https://perma.cc/LP48-JRAF; Jan. 3. Memo on Jan. 6 Scenario, CNN,
26 https://perma.cc/B8XQ-4T3Z (provided by Plaintiff to CNN per CNN reporting, see
27
   Jeremy Herb (@jeremyherb), Twitter (Sept. 21, 2021, 5:46 PM), https://perma.cc/GX4R-
   MK9B).
28 9
     Ex. F, Dec. 23, 2020, at 1.
                                                 8
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 18 of 56 Page ID
                                      #:5307


 1 indicated that he believed votes were invalid, writing to a member of the public on
 2 January 10, 2021, that “they had no authority” because “[n]o legislature certified them.” 10
 3 As this Court explained, “[t]he illegality of the plan was obvious . . . . Every American—
 4 and certainly the President of the United States—knows that in a democracy, leaders are
 5 elected, not installed.” ECF 260 at 36.
 6         Other communications also undermine Dr. Eastman’s assertions that his advice
 7 was predicated on a genuine belief that the 2020 election had been tainted by fraud. In an
 8 exchange between Dr. Eastman, Cleta Mitchell, and several others on January 2, 2021,
 9 Ms. Mitchell asked Dr. Eastman for information on election fraud and persuasive legal
10 arguments to pass to “Members of Congress and Senators, who are now clamoring for
11 facts and data re illegal votes.”11 Dr. Eastman first responded that because “serious
12 forensic investigations have been blocked at almost every turn, I’ve been focusing on the
13 clear violations of state law,” offering an example from Georgia.12 Ms. Mitchell then
14 replied: “What’s missing is any similar information in other states, of the kind we
15 assembled in GA. That’s what we are asking. Does it exist elsewhere?” 13 Dr. Eastman
16 responded: “No idea. I haven’t even had a chance to look at that website link I sent —but
17 was told everything is assembled there. Is that not the case?” 14 When Dr. Eastman later
18 offered to see if the Trump Campaign had this information, Ms. Mitchell responded: “I
19 can tell you now that I don’t think it exists but if you can figure it out, members of
20 Congress are desperate for it.”15 Dr. Eastman nevertheless continued to make false
21 allegations of election fraud, both publicly and privately—in fact, he opens his brief to
22 this Court with those very same false allegations. Br. at 1-9.
23
      10
24    Ex. G, Jan. 10, 2021.
   11
25
      Ex. H, Jan. 2, 2021, at 2.
   12
      Id. at 1-2.
26
   13
      Id. at 1.
27 14
      Id.
28 15
      Id.
                                                 9
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 19 of 56 Page ID
                                      #:5308


 1         The documents recently produced to the Select Committee by Dr. Eastman provide
 2 more than a reasonable basis to establish Dr. Eastman’s role throughout the period
 3 covered by the subpoena. Only two days after the election, Dr. Eastman was asked to
 4 prepare legal research regarding the role of state legislatures in appointing Presidential
 5 electors. 16 His resulting memorandum, titled “The Constitutional Authority of State
 6 Legislatures to Choose Electors,” asserted that there was “more than enough in the way
 7 of alteration of the legislatively-approved manner of choosing electors to warrant
 8 legislatures in several states taking back their plenary power to determine the manner of
 9 choosing electors, even to the point of adopting a slate of electors themselves.”17
10         By November 6, 2020, Dr. Eastman indicated that he had “[a]lready been in touch”
11 with an attorney believed to be working with President Trump “about the Legislature
12 override (for violations of existing state law) option,” 18 and by November 28, 2020, his
13 paper had reached President Trump and the White House Chief of Staff, Mark
14 Meadows. 19 Dr. Eastman repeatedly pushed this expansive theory of state legislative
15 power in states where Trump lost the popular vote, but where Republicans controlled
16 state legislatures. 20 But Dr. Eastman’s communications with legislators demonstrate that
17 this was not an academic discussion of a legitimate question of constitutional
18 interpretation; this was an outcome-driven campaign to overturn the result of a
19 democratic election. 21 “Dr. Eastman and President Trump launched a campaign to
20
      16
21    Ex. I, Nov. 5, 2020.
   17
      Ex. J, Nov. 28, 2020, at 6 (emphasis added).
22
   18
      Ex. K, Nov. 6, 2020, at 1.
23 19
      See Ex. J at 2-8.
24 20
      See Ex. L, Nov. 9, 2020; Ex. M, Dec. 4, 2020; John C. Eastman, The Constitutional
25 Authority of State to Choose Electors, The American Mind (Dec. 1, 2020),
   https://perma.cc/Y4TF-Y9JJ.
26
   21
      See, e.g., Ex. N, Dec. 4, 2020; Ex. O, Dec. 4, 2020. In an exchange of several emails
27 with Pennsylvania State Representative Russ Diamond, Dr. Eastman encouraged the
28 legislator to draft a resolution “choos[ing] a slate of electors” for Trump/Pence and—

                                                10
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 20 of 56 Page ID
                                      #:5309


 1 overturn a democratic election, an action unprecedented in American history. Their
 2 campaign was not confined to the ivory tower—it was a coup in search of a legal theory.”
 3 ECF 260 at 44.
 4         These examples only further highlight the need for this Court’s in-camera review
 5 of the remaining documents to determine whether they contain communications in
 6 furtherance of the former President’s efforts to obstruct the electoral count in violation of
 7 18 U.S.C. § 1512(c)(2), and the conspiracy to defraud the United States in violation of 18
 8 U.S.C. § 371.
 9            b. United States v. Miller is an Outlier that Should Not Alter this Court’s
10               Analysis

11          Dr. Eastman now asks this Court to reverse its prior crime-fraud reasoning,
12 relying exclusively on United States v. Miller, No. 21-cr-119, 2022 WL 823070, (D.D.C.
13 Mar. 7, 2022): a single decision that is inconsistent with at least 11 other decisions.
14         For all the reasons set forth in this Court’s March 28 opinion, Miller is an outlier.
15 Nor is Miller’s Section 1512(c) analysis sturdy on its own docket. That opinion is
16 subject to a motion for reconsideration, see Mot. for Recons., Miller, No. 21-cr-119
17 (D.D.C. Apr. 1, 2022), ECF 75, and Judge Nichols recently stated he is “very seriously
18 contemplating” the Department of Justice’s request to reconsider his reasoning. For
                                                                                  22


19 good reason.
20
   after acknowledging that he “did not watch the hearings that were held” and could only
21 “suspect they contained ample evidence of sufficient anomalies and illegal votes to have
   turned the election from Trump to Biden”—suggested one or more ways to “discard”
22
   votes and “discount” the vote totals to manufacture a Trump victory in the state, thus
23 “provid[ing] some cover” and “bolster[ing] the argument for the Legislature adopting a
   state of Trump electors.” Ex. N at 1. The legislator responded to Dr. Eastman’s email
24
   acknowledging the failings of the Trump legal team in the hearing held in Pennsylvania
25 and telling Dr. Eastman that it was because of those deficiencies that he “so latched on to
   your comments that actual fraud is irrelevant when the election itself is unlawful.” Ex. O
26
   at 1.
27 22 See Jordan Fischer, The only judge to dismiss obstruction charges in a Capitol riot
28 case is “seriously contemplating” reconsidering, WUSA 9, (May 3, 2022),

                                                 11
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 21 of 56 Page ID
                                      #:5310


 1          In addition to this Court’s earlier holding, at least eleven other cases have rejected
 2 the document-focused interpretation of Section 1512(c)(2) that Dr. Eastman advances. In
 3 United States v. Sandlin, Judge Friedrich held that Section 1512(c)(2)’s terms are
 4 “expansive and seemingly encompass all sorts of actions that affect or interfere with
 5 official proceedings” and determined that the use of the word “otherwise” in
 6 Section 1512(c)(2) “clarifies” that it “prohibits obstruction by means other than
 7 document destruction.” No. 21-cr-88, 2021 WL 5865006, at *5-6 WL 5865006 (D.D.C.
 8 Dec. 10, 2021). In United States v. Caldwell, Judge Mehta concluded that
 9 Section 1512(c)(2) is not “limited” to conduct “affecting the integrity or availability of
10 evidence in a proceeding.” No. 21-cr-28, 2021 WL 6062718, at *11 (D.D.C. Dec. 20,
11 2021) (brackets and internal quotation marks omitted); see id. at *11-19 (addressing
12 § 1512(c)(2)’s text and structure). In United States v. Mostofsky, Judge Boasberg found
13 persuasive the analysis in Sandlin and Caldwell. No. 21-cr-138, 2021 WL 6049891, at
14 *11 (D.D.C. Dec. 21, 2021). In United States v. Nordean, Judge Kelly reasoned that an
15 interpretation of Section 1512(c)(2) limiting it to “impairment of evidence” could not “be
16 squared with” § 1512(c)(2)’s “statutory text or structure.” No. 21-cr-175, 2021 WL
17 6134595, at *6 (D.D.C. Dec. 28, 2021). And in United States v. Montgomery, Judge
18 Moss reached the same conclusion. No. 21-cr-46, 2021 WL 6134591, at *10-18 (D.D.C.
19 Dec. 28, 2021); see also United States v. Bozell, No. 21-cr-216, 2022 WL 474144, at *5
20 (D.D.C. Feb. 16, 2022) (Bates, J.) (reaching the same conclusion on the scope of
21 § 1512(c)(2)); United States v. Grider, No. 21-cr-22, 2022 WL 392307, at *5-6 (D.D.C.
22 Feb. 9, 2022) (Kollar-Kotelly, J.) (same).
23          Following Miller, at least four cases have expressly disagreed with the analysis in
24 Miller. In denying a defendant’s post-trial motion for acquittal under Federal Rule of
25
      https://perma.cc/RKD3-QHTM. That same judge advanced the same reading of
26 Section 1512(c) in United States v. Fischer, No. 21-cr-00234, 2022 WL 782413, at *4
27 (D.D.C. Mar. 15, 2022). The Department of Justice has filed a motion for
      reconsideration in that case as well. Mot. for Recons., Fischer, No. 21-cr-00234, (D.D.C.
28
      Apr. 8, 2022), ECF 72.
                                                  12
                 CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 22 of 56 Page ID
                                      #:5311


 1 Criminal Procedure 29, Judge Friedrich specifically considered the reasoning in Miller
 2 and “d[id] not find Miller persuasive.” United States v. Reffitt, No. 21-cr-32, 2022 WL
 3 1404247, at *5 (D.D.C. May 4, 2022). In United States v. Puma, Judge Friedman
 4 concluded that the word “otherwise” in Section 1512(c)(2) “clarifies” that a defendant
 5 violates that section “through ‘obstruction by means other than document destruction.’”
 6 No. 21-cr-454, 2022 WL 823079, at *12 (D.D.C. Mar. 19, 2022) (quoting Mostofsky,
 7 2022 WL 6049891, at *11); id. at *12 n.4 (specifically rejecting Miller’s reasoning). In
 8 United States v. Bingert, Judge Lamberth also rejected the defendant’s reliance on Miller
 9 to advocate for a restrictive reading of Section 1512(c)(2). Mem. Op., at 13-22, Bingert,
10 No. 21-cr-91 (D.D.C. May 25, 2022), ECF 67.
11         And in United States v. McHugh, Judge Bates specifically declined to do what Dr.
12 Eastman asks this Court to do. No. 21-453, 2022 WL 1302880, at *1 (D.D.C. May 2,
13 2022). “Relying almost entirely on Judge Carl Nichols’s recent opinion in United States
14 v. Miller, Crim. A. No. 21-cr-00119 (CJN), 2022 WL 823070 (D.D.C. Mar. 7, 2022),” as
15 Dr. Eastman does here, the defendant there “argue[d] that § 1512(c)(2) prohibits only
16 obstruction that occurs with respect to a document, record, or other object.” Id. at *1.
17 Judge Bates was clear: “The Court disagrees” with Miller and “reiterates its conclusion
18 that 18 U.S.C. § 1512(c)(2) is a broad prohibition on all forms of obstruction.” Id. In ten
19 pages of analysis, Judge Bates rejected, point by point, the reasoning in Miller. Id. at *2-
20 12.
21         This Court was correct in its original reading of Section 1512(c) and its reasoning
22 has only been reinforced by subsequent decisions. It should not be the first to agree with
23 Miller. The crime-fraud analysis in this Court’s March 28 order is on solid ground, and it
24 should govern analysis of the documents at issue here.
25            c. Dr. Eastman’s Repeated Lies About Election Fraud Were—and Still
26
                 Are—Dangerous

27         In attempting to rebut the notion that he acted “corruptly,” Eastman identifies a
28 series of allegations about election fraud—essentially arguing that these allegations can

                                                 13
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 23 of 56 Page ID
                                      #:5312


 1 somehow justify his actions. They cannot. The allegations are unproven conspiracy
 2 theories and nonsense, already rejected by courts, the former President’s campaign,
 3 subject matter experts and/or the U.S. Department of Justice.
 4         1. To the extent Dr. Eastman was relying on allegations in legal complaints to
 5 establish his belief regarding election fraud, those claims were being routinely rejected
 6 by the courts, 23 with blistering criticism of the “evidence” put forward in support of the
 7 claims. 24
 8         2. Dr. Eastman begins his argument with allegations about Georgia. These
 9 allegations are false. Dr. Eastman claims that hundreds of thousands of illegal votes were
10 cast in the 2020 presidential election in Georgia. To support this assertion, without citing
11 any additional evidence, Dr. Eastman relies on allegations in the complaint filed in the
12 Georgia case of Trump v. Raffensperger, No. 2020-cv-343255 (Ga. Super. Ct., Fulton
13 Cnty. Jan. 7, 2021) (the “Georgia Complaint”). The cited allegations involving
14
15    Dr. Eastman claims in a footnote that “almost every” case was “decided on
      23

16 jurisdictional grounds without ever reaching the merits of the claims of illegality and
   fraud.” Br. at 5 n.3. That is not true. In many cases, courts addressed and rejected the
17 merits of claims brought by the former President and those aligned with him. See
18 William Cummings et al., By the Numbers: President Donald Trump’s Failed Efforts to
   Overturn the Election, USA Today (Jan. 6, 2021), https://perma.cc/M52G-K3GC.
19
   24
      See, e.g., Order at 6, Constantino v. Detroit, No. 20-014780 (Wayne Cnty. Cir. Ct.
20 Nov. 13, 2020) (finding election fraud claims “rife with speculation and guess-work
21 about sinister motives”); Bowyer v. Ducey, 506 F. Supp. 3d 699, 706, 722, 723 (D. Ariz.
   2020) (“allegations are sorely wanting of relevant or reliable evidence,” “void of
22 plausible allegations that Dominion voting machines were actually hacked or
23 compromised,” and “‘expert reports’ reach implausible conclusions[] often because they
   are derived from wholly unreliable sources”); King v. Whitmer, 505 F. Supp. 3d 720, 738
24 (E.D. Mich. 2020) (“nothing but speculation and conjecture that votes for President
25 Trump were destroyed, discarded or switched to votes for Vice President Biden.”); Mem.
   Op. at 2, Donald J. Trump for President, Inc. v. Boockvar, No. 20-cv-02078 (M.D. Pa.
26 Nov. 21, 2020), ECF 202 (“strained legal arguments without merit and speculative
27 accusations, unpled in the operative complaint and unsupported by evidence.”); Donald
   J. Trump for President, Inc. v. Sec’y of Pa., 830 F. App’x 377, 381 (3d Cir. 2020)
28
   (“Charges require specific allegations and then proof. We have neither here.”).
                                                14
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 24 of 56 Page ID
                                      #:5313


 1 thousands of corrupt votes were wrong when they were made and have not withstood
 2 scrutiny in the months since the former President and other plaintiffs voluntarily
 3 dismissed their complaint on the eve of trial in January 2021, rather than having their
 4 claims tested in the adversarial process.
 5         First, Dr. Eastman refers to a claim raised in the Georgia Complaint that Georgia’s
 6 absentee ballot disqualification rate declined from 2.9% in 2016 and 3.46% in 2018 to
 7 .34% in 2020. See Br. at 5. Dr. Eastman attributes this change in ballot rejection rates to
 8 “lax rules” adopted by the Georgia Secretary of State and posits that between 38,000 and
 9 45,000 ballots that “should have been disqualified” were counted. Id. Dr. Eastman fails
10 to account for the expert analysis submitted under oath in response to the Georgia
11 Complaint explaining that Georgia’s substantial improvement with respect to absentee
12 ballot rejection rates is not a result of “lax rules,” but rather a reflection of the success of
13 COVID-era voter education efforts implemented throughout the country.25 In fact,
14 almost every state in the country reduced its mail-in ballot rejection rate from the 2018
15 election through public voter education and related efforts.26 According to a survey by
16 Ballotpedia, Georgia ranked 10th in terms of the largest reductions from 2018, and 13th
17 in terms of the lowest ballot rejection rate in 2020. 27
18         On the basis of these statistics alone, Dr. Eastman makes the claim that 45,000
19 Georgia voters should have their votes cancelled, but he has no actual evidence to justify
20 that result. And he only makes such arguments about states President Biden won, not
21
22
23    25
      See Ex. P ¶¶ 92-104, Dec. 14, 2020 (extended discussion regarding the efforts
24 undertaken in Georgia and elsewhere prior to the 2020 election to reduce ballot rejection
   rates).
25 26
      For an analysis of this issue and a discussion of the voter education efforts undertaken
26 with the 2020 election, see Nathaniel Rakich, Why So Few Absentee Ballots Were
27
   Rejected in 2020, FiveThirtyEight (Feb. 17, 2021, 6:00 AM), https://perma.cc/P3RW-
   ZKLM.
28 27
      Available at https://perma.cc/WN6D-EELH.
                                                  15
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 25 of 56 Page ID
                                      #:5314


 1 states won by Trump with similar error rate reductions (e.g., North Carolina and
 2 Kentucky).
 3         Second, Dr. Eastman’s contention that more than 66,000 underage people were
 4 allowed to register to vote, and then did vote, in Georgia in 2020 has also been refuted.
 5 The office of the Georgia Secretary of State refuted this claim over a year ago during a
 6 televised press conference on January 4, 2021, stating that the actual number of people
 7 below the age of 18 who voted was zero. 28 The Secretary of State’s office reviewed the
 8 dates of birth listed on the state’s voter registration rolls and found four cases where
 9 individuals requested absentee ballots before their 18th birthday. In each case, the voter
10 turned 18 before Election Day. 29 Neither the Georgia Complaint, nor the affidavit upon
11 which it relied, nor Dr. Eastman, identifies a single voter in Georgia who voted before
12 turning 18.
13         Third, Dr. Eastman’s assertion that more than 40,000 voters moved to another
14 county within Georgia and voted in their prior county in 2020 is based on the Declaration
15 of Mark Davis. Mr. Davis compared National Change of Address forms to voter
16 registration records and concluded that 40,279 people moved across county lines within
17 Georgia more than 30 days before the election but cast a ballot in their old county of
18 residence.30 Mr. Davis acknowledged in his declaration that “if those were all temporary
19
20    In a February 2022 presentation, Mr. Bryan Geels responded to the Secretary of State’s
      28

   findings by claiming that he never claimed in his report that underage people had voted
21 in Georgia. Rather, he claimed to have identified 2,047 instances in which data he
22 reviewed reflected a registration date and a birth date that were less than seventeen years
   apart. Joe Hoft, Auditor Bryan Geels Identified Nearly 100,000 Ballots in Georgia that
23 Were Invalid-Raffensperger Blew It Off, Misrepresented the Data, and Certified the 2020
24 Election Anyway, Gateway Pundit (Feb. 11, 2022), https://perma.cc/E8PD-TBBH
   (relevant portion at 58:00 mark). There is no reference to the 2,047 figure in Mr. Geels’
25 filed affidavit. Ex. Q ¶ 46, Dec. 1, 2020.
26 29 Gabriel Sterling, Georgia Secretary of State Office Press Conference Transcript
27
   January 4: Trump Call, Senate Runoff Election, Rev Blog (Jan. 4, 2022),
   https://perma.cc/3WG2-TKS9.
28 30
      Ex. R ¶¶ 22-25, Nov. 20, 2020.
                                                16
                 CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 26 of 56 Page ID
                                      #:5315


 1 relocations, they are eligible, but I think it highly likely the vast majority are not
 2 temporary.”31 Mr. Davis offered no evidence to support this belief.
 3         Nowhere did Mr. Davis contend that any of these voters registered in more than
 4 one county or cast more than one ballot in the Presidential election; he merely stated that
 5 they voted in their prior (or permanent) Georgia county of residence. He asserted that “a
 6 person who does not permanently live in a county they cast vote in [sic] has no legal or
 7 moral right to cast a vote for sheriff, district attorney, county commission, school board,
 8 or in a legislative, congressional, or other districts they no longer reside in.” 32 He failed
 9 to offer any explanation as to how any vote cast in the wrong county in Georgia impacted
10 the 2020 Presidential election.
11         Fourth, Dr. Eastman’s filing reiterated the long-ago refuted claim that more than
12 10,000 votes were cast in the names of deceased people. For that claim, the Georgia
13 Complaint referenced by Dr. Eastman relied on the declaration of Bryan Geels, a CPA
14 from Seattle whose affidavit reflects no experience or expertise in election
15 administration, who compared a publicly available Georgia voter list to a list of deceased
16 individuals and claimed to have found “up to 10,315” instances in which individuals with
17 the same first name, last name and birth year appeared on both lists.33 Mr. Geels warned
18 in his declaration, however, that his list was not meant to suggest that each of those
19 matched names corresponded to a fraudulent vote:
20
           Because the Voter Registration file only contains the Birth Year for each registered
21         voter, a more exact match cannot be made and there may indeed be false positives
22
23
      31
24    Id. ¶ 26.
   32
25    Id. ¶ 30.
   33
      Ex. Q ¶ 50. Although Mr. Geels’ topline number of more than 10,000 names was
26 repeatedly cited by former President Trump, Rudy Giuliani and others, and has now been
27 presented to this Court by Dr. Eastman, even Mr. Geels only claimed that 8,718
   individuals on his matched list “are recorded to have perished prior to the date the State
28
   records as having accepted their vote.” Id.
                                                  17
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 27 of 56 Page ID
                                      #:5316


 1         included in the population. Only the State possesses the full birth date records for
           its voters and could conduct the full analysis with certainty.34
 2
 3 Indeed, this concession by Mr. Geels raised serious questions about his entire “analysis.”
 4 As noted in the declaration filed in the same Georgia case by MIT Professor Charles
 5 Stewart, more than one million registered voters in Georgia shared a first name, last name
 6 and birth year with at least one other Georgia voter in 2020, making it an absolute
 7 certainty that a large number of people who voted in Georgia in 2020 had the same name
 8 and birth year as someone who died that year. 35
 9         In addition, even the former President’s own lawyers identified an additional
10 problem with Mr. Geels’s methodology: he included in his list all matched names of
11 people who had died by November 3, 2020, failing to account for the fact that virtually
12 all absentee ballot voters mailed in their ballots before Election Day. In internal
13 correspondence in January 2021, the former President’s attorneys acknowledged that Mr.
14 Geels’ list included many voters who died after they sent in their absentee ballot. 36
15         Lastly, and most importantly, the Georgia Secretary of State performed the “full
16 analysis” that Mr. Geels acknowledged only the State could conduct, and determined—in
17    34
      Id. (emphasis added). More recently, Geels clarified that he did not mean to suggest by
18 his affidavit that any number of fraudulent votes were cast—stressing that he claimed
19
   only that it might be up to 10,315 votes, and that the data showed 873 people who
   received credit for voting although they died prior to Election Day. See Hoft, supra n. 33
20 (at 1:00:00 mark of video).
   35
21    Ex. P ¶ 32. According to Professor Stewart, applying the most recently available data
   regarding the death rate in Georgia of people over the age of 20, he would expect 11,572
22
   registered voters in Georgia to share the same first and last name of another voter in
23 Georgia who died in 2020. Id.
   36
24     In a January 4, 2021 email to Rudy Giuliani, Steve Bannon, and others, an attorney
   promoting election fraud claims attached a spreadsheet of Mr. Geels’ data that reflected
25 only 134 individuals with a date of death before the date that the ballot was received and
26 logged in by the Clerk’s office. Ex. S, Jan. 4, 2021 email from K.F. to R.H. et al. at 1.
   More than half of those individuals died within three days of their vote being received
27 and recorded by the Clerk, meaning they likely sent their ballot before they passed. The
28 attorney told Mr. Giuliani: “I think this makes the case for unfortunate timing – many

                                                 18
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 28 of 56 Page ID
                                      #:5317


 1 findings that were widely publicized—that there were just four instances in which
 2 individuals voted on behalf of deceased relatives. 37
 3         The fundamental flaws in the Geels analysis relied on in the January 2021 Georgia
 4 Complaint were identified in pleadings and public pronouncements in 2020 and 2021.
 5 Yet Dr. Eastman promotes that analysis before this Court.
 6         2. After focusing on Georgia, Eastman attempts to undermine conclusions by
 7 Trump Administration officials that the election was not “stolen.” First, he challenges
 8 the statement made by a consortium of election security agencies, including the
 9 Department of Homeland Security’s Cybersecurity and Infrastructure Security Agency,
10 that: “There is no evidence that any voting system deleted or lost votes, changed votes, or
11 was in any way compromised.”38 Dr. Eastman claims this statement was “proved . . . to
12 be false” by a forensic audit in Antrim County, Michigan, 39 and that Michigan’s own
13 expert “acknowledged that votes were switched in the machine due to an improper
14 software upgrade.” Br. at 8. This ASOG “audit” was proven to be false by state
15 officials, and President Trump was informed it was false by his own appointees at the
16
17
18 sent their ballots before they passed – rather than nefarious activity. Am raising this just
19 so that everyone is aware of what the data actually says.” Id.
20    Mark Niess, Alleged ‘dead’ Georgia votes found alive and well after 2020 election,
      37

   Atlanta J.-Const., (Dec. 27, 2021), https://perma.cc/QP4L-363L. Georgia’s Secretary of
21 State referred the cases to the attorney general’s office for investigation. Katherine Fung,
22 Trump Claimed Thousands of Dead Voted in Georgia Election, Investigation Found Only
   Four, Newsweek (Dec. 27, 2021), https://perma.cc/9UQX-V4BZ. In one of the four
23 instances, a 74-year-old widow submitted an absentee ballot on behalf of her husband,
24 who had died in September 2020; the vote she cast on his behalf “carried out his wishes”
   to “vote Republican.” Id.
25 38
      CISA, Joint Statement from Elections Infrastructure Government Coordinating
26 Council & The Election Infrastructure Sector Coordinating Executive Committees (Nov.
27
   12, 2020), https://perma.cc/NQQ9-Z7GZ.
   39
      The “forensic audit” referred to by Dr. Eastman was a report prepared by Allied
28
   Security Operations Group (“ASOG”), a group hired by Trump’s legal team.
                                                 19
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 29 of 56 Page ID
                                      #:5318


 1 U.S. Department of Justice.40 A Michigan expert (whom Dr. Eastman references, see Br.
 2 at 8 n.11) concluded: “The report contains an extraordinary number of false, inaccurate,
 3 or unsubstantiated statements and conclusions.” 41 Finally, a full hand recount of the
 4 votes in Antrim County confirmed that that election systems used did not generate the
 5 faulty vote counts described by the debunked report.42 Nowhere in the expert’s report
 6 does he conclude that votes were switched through the “adjudication” process (as alleged
 7 by the Trump team) or through any “software upgrade” (as claimed by Dr. Eastman).
 8 Nor does the ASOG report or Michigan’s expert conclude that the security agency
 9 statement noted above is false or incorrect. 43 Frankly, it is difficult to understand why
10 Dr. Eastman would raise these allegations again here.
11         Dr. Eastman also claims, without support, that the Department of Justice “did very
12 little in the way of investigations of election illegality and fraud.” Br. at 8. In fact, the
13 Justice Department changed a long-standing practice in 2020, and authorized U.S.
14 Attorneys to investigate allegations regarding the 2020 Presidential election even before
15 the results were certified. 44 As Acting Deputy Attorney General Donoghue testified, the
16 Justice Department looked into a litany of bogus claims raised by former President
17 Trump and his supporters and reported to the President on several occasions that the
18
      40
      Ex. T at 26-34, Oct. 1, 2021.
19
   41
      Ex. U at 40.
20 42
      See Clara Hendrickson et al., Antrim County hand tally affirms certified election
21 results, (Dec. 17, 20202), https://perma.cc/3MFZ-5YFL.
22 43 Indeed, Professor Halderman, along with 58 of the nation’s other leading election
   security scientists, signed a statement in November 2020, that said: “To our collective
23
   knowledge, no credible evidence has been put forth that supports a conclusion that the
24 2020 election outcome in any state has been altered through technical compromise.”
   Tony Adams et al., Scientists say no credible evidence of computer fraud in the 2020
25
   election outcome, but policymakers must work with experts to improve confidence (Nov.
26 16, 2020), https://perma.cc/WAK5-GE4V.
27
   44
      See Mem. from Att’y Gen. to U.S. Att’ys (Nov. 9, 2020), https://perma.cc/7N6E-27N2;
   see also Josh Gerstein, Barr OK for Election-fraud Investigations Roils Justice
28
   Department, Politico (Nov. 9, 2020, 9:04 PM), https://perma.cc/JQG2-BF2L.
                                                  20
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 30 of 56 Page ID
                                      #:5319


 1 claims were unfounded, including the precise claim that Dr. Eastman touts related to
 2 Antrim County. 45
 3             3. Dr. Eastman also reiterates claims that election provisions enacted prior to the
 4 2020 general election in Pennsylvania and Wisconsin were unconstitutional, see Br. at 6-
 5 7, notwithstanding the fact (as acknowledged by Dr. Eastman) that the Supreme Courts
 6 of both states rejected the claims in 2020 (and that the U.S. Supreme Court did not
 7 reverse either). See id. at 7. He does not describe the particular Wisconsin measures he
 8 believes were unconstitutional.
 9             With respect to Pennsylvania, Dr. Eastman refers to litigation related to the
10 constitutionality of a provision passed in 2019 by the Republican-led General Assembly
11 of Pennsylvania to add no-excuse mail-in voting. After no challenge was filed with
12 respect to the provision within the required 180 days of enactment, the provision was
13 applied in the 2020 primary election and the general election in November 2020. After
14 the November election, petitioners sued to block certification of the election on the
15 ground that the voting law was unconstitutional. The Pennsylvania Supreme Court
16 dismissed the claim based on petitioners’ “failure to file their facial constitutional
17 challenge in a timely manner,” noting the “substantial prejudice” if the court were to
18 adopt “the extraordinary proposition that the court disenfranchise all 6.9 million
19 Pennsylvanians who voted in the General Election.” Order at 2-3, Kelly v.
20 Commonwealth of Pa., No. 68-map-2020 (Pa. Nov. 28, 2020) (per curiam) (citation
21 omitted). Thus, whether or not Dr. Eastman thinks that the Pennsylvania Supreme Court
22 ruled incorrectly in that case as a matter of Pennsylvania law, this example cannot
23 reasonably be cited as evidence of fraud or a stolen election. Again, it is very difficult to
24 understand how Dr. Eastman believes this is helpful to his position in this litigation.
25             Further, without analysis or discussion Dr. Eastman cites to articles suggesting the
26 “improbability” of President Biden’s electoral victory and touts a recent documentary
27 claiming a “massive and illegal ballot harvesting scheme.” Br. at 6. In particular, the
28
      45
           Ex. T at 26-34, Oct. 1, 2021.
                                                    21
                    CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 31 of 56 Page ID
                                      #:5320


 1 filmmaker admits that he did not identify one false or fraudulent vote cast, but instead
 2 insists that his movie should be a “spur” to investigators “to come up with the evidence
 3 of a legal offense.”46 Again, to use the words of Judge Brann from Donald J. Trump for
 4 President, Inc. v. Boockvar, “One might expect that when seeking such a startling
 5 outcome, a plaintiff would come formidably armed with compelling legal arguments and
 6 factual proof of rampant corruption . . . That has not happened. Instead, this Court has
 7 been presented with . . . speculative accusations . . . unsupported by evidence.” 502 F.
 8 Supp. 3d 899, 906 (M.D. Pa. 2020).
 9            d. President Trump Likely Engaged in Common Law Fraud
10         In addressing the January 4-7 documents, this Court “d[id] not reach whether
11 President Trump likely engaged in common law fraud.” ECF 260 at 40. He did, and any
12 materials in the current population of documents reflecting this fraud must be produced.
13         The District of Columbia, where these frauds occurred, defines common law fraud
14 as: (1) “a false representation”; (2) “in reference to material fact”; (3) “made with
15 knowledge of its falsity”; (4) “with the intent to deceive”; and (5) “action is taken in
16 reliance upon the representation.” Atraqchi v. GUMC Unified Billing Servs., 788 A.2d
17 559, 563 (D.C. 2002). 47 As Congressional Defendants explained in their brief on the
18 January 4-7 documents, the former President made numerous false statements regarding
19 election fraud, both personally and through his associates, to the public at large and to
20 various state and federal officials. See ECF 164-1 at 6-7. These statements included
21 misrepresentations about the validity of state and federal election results. See id. at 7-8.
22
23    Philip Bump, Discussing the Gaps in ‘2000 Mules’ with Dinesh D’Souza, Wash. Post
      46

   (May 17, 2022), https://perma.cc/3WHS-NVVL (interview with filmmaker in which he
24 acknowledges quote from film: “I want to make very clear that we’re not suggesting the
25 ballots that were cast were illegal ballots.”).
   47
      The definition of fraudulent deceit under California law largely tracks these elements.
26 See Small v. Fritz Cos., Inc., 65 P.3d 1255, 1258 (Cal. 2003) (requiring (1) a
27 “misrepresentation”; (2) “knowledge of falsity (or scienter)”; (3) “intent to defraud, i.e.,
   to induce reliance”; (4) “justifiable reliance”; and (5) “resulting damage” (internal
28
   quotation marks omitted)).
                                                 22
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 32 of 56 Page ID
                                      #:5321


 1 And the evidence supports a good-faith inference that the President did so with
 2 knowledge of the falsity of these statements and an intent to deceive his listeners with the
 3 hope they would take steps in reliance thereon. Congressional Defendants incorporate by
 4 reference the portion of their prior brief discussing common law fraud. See ECF 164-1 at
 5 46-51.
 6         B.    The Select Committee Subpoena Does Not Violate the First Amendment
 7         For the fourth time, Dr. Eastman challenges the subpoena on First Amendment
 8 grounds. 48 This Court rejected Dr. Eastman’s First Amendment argument before, see
 9 ECF 43 at 13, and—if it sees any need to address this iteration of Dr. Eastman’s First
10 Amendment argument—this Court should do so again.
11         A First Amendment challenge to a duly authorized subpoena depends on a
12 balancing of “the competing private and public interests at stake in the particular
13 circumstances shown.” Barenblatt v. United States, 360 U.S. 109, 126 (1959); see also
14 ECF 43 at 12 (applying Barenblatt balancing test to First Amendment claim). Dr.
15 Eastman now advances a theory that his First Amendment challenge triggers “exacting
16 scrutiny” instead of Barenblatt’s balancing test. See Br. at 31-32 (arguing the plurality
17 opinion in Americans for Prosperity v. Bonta, 141 S. Ct. 2373 (2021) requires an
18 exacting scrutiny test).49 The plurality in Bonta requires no such thing.50
19         Dr. Eastman fails to cite any case holding that this standard applies to a
20 Congressional subpoena. The one court that confronted the issue declined to resolve the
21 question of which standard applies and instead “assume[d] that the narrow-tailoring
22 requirement applie[d].” Repub. Nat’l Comm. v. Pelosi (“RNC”), No. 22-cv-659, 2022
23
24    See Compl. ¶¶ 14, 80-88, Jan. 20, 2022, ECF 1; Pl.’s Br. Supp. Privilege Assertions at
      48

   9-10, 31-36, Feb. 25, 2022, ECF 144; Pl.’s Reply in Supp. of Privilege Assertions at 24-
25 25, Mar. 7, 2022, ECF 185; Br. at 31-34.
26 49 The part of the Bonta opinion on which Dr. Eastman relies, Part II(B)(1), was joined by
27
   only two additional Justices.
   50
      Dr. Eastman cited Bonta in his prior brief, see ECF 144 at 10, but waited until now to
28
   offer his exacting scrutiny theory.
                                                 23
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 33 of 56 Page ID
                                      #:5322


 1 WL 1294509, at *21 (D.D.C. May 1, 2022), appeal pending, No. 22-5123 (D.C. Cir.).
 2 That assumption followed the court’s reasoning that the “exacting scrutiny” theory
 3 derived from the Bonta plurality and Barenblatt’s balancing test “appear to be different
 4 ways of saying much the same thing.” Id. at *20; id. (“the Court does not see much if
 5 any difference” between the Bonta exacting scrutiny test and the Barenblatt balancing
 6 test). According to the RNC court, like the Barenblatt test, the Bonta test calls for
 7 “balanc[ing] the burdens imposed on individuals and associations against the significance
 8 of the government interest in disclosure.” Id. (quoting Am. Fed’n of Lab. & Cong. of
 9 Indus. Orgs. v. Fed. Election Comm’n, 333 F.3d 168, 176 (D.C. Cir. 2003)).
10         This Court has already correctly held that the balance falls on the Select
11 Committee’s side. In rejecting Dr. Eastman’s First Amendment arguments in the context
12 of Dr. Eastman’s motion for preliminary injunctive relief, this Court held that “[t]he
13 public interest here is weighty and urgent. Congress seeks to understand the causes of a
14 grave attack on our nation’s democracy and a near-successful attempt to subvert the will
15 of the voters.” ECF 43 at 12. And, “Congressional action to ‘safeguard [a presidential]
16 election’ is ‘essential to preserve the departments and institutions of the general
17 government from impairment or destruction, whether threatened by force or by
18 corruption.’” Id. (quoting Burroughs v. United States, 290 U.S. 534, 545 (1934)). See
19 also Trump v. Thompson, 20 F.4th 10, 35 (D.C. Cir. 2021), cert. denied, 142 S. Ct. 1350
20 (2022) (describing “Congress’s uniquely weighty interest in investigating the causes and
21 circumstances of the January 6th attack so that it can adopt measures to better protect the
22 Capitol Complex, prevent similar harm in the future, and ensure the peaceful transfer of
23 power”).
24         Consistent with this Court’s reasoning, the Supreme Court itself has recognized
25 that the public interest is extremely high when the focus is on ensuring “the free
26 functioning of our national institutions.” Buckley v. Valeo, 424 U.S. 1, 66 (1976)
27 (citation omitted); see also Senate Permanent Subcomm. v. Ferrer, 199 F. Supp. 3d 125,
28 138 (D.D.C. 2016), aff’d, 856 F.3d 1080 (D.C. Cir. 2017) (rejecting claims that issuance

                                                 24
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 34 of 56 Page ID
                                      #:5323


 1 of a Congressional subpoena violates a respondent’s First Amendment rights). The
 2 Select Committee is doing precisely that by seeking documents related to Dr. Eastman’s
 3 efforts to justify overturning an election.
 4         As the RNC court explained, even applying a narrow-tailoring inquiry, the
 5 contours “‘must be calibrated to fit the distinct issues raised’ in the context of each case.”
 6 RNC, 2022 WL 1294509, at *21 (quoting Grutter v. Bollinger, 539 U.S. 306, 333–34
 7 (2003)). “And the context here is not a law or regulation of general applicability, but a
 8 legislative investigation in which Congress generally ‘has broad discretion in determining
 9 . . . the scope and extent of the inquiry[.]’” Id. (quoting United States v. Bryan, 72 F.
10 Supp. 58, 61 (D.D.C 1947), aff’d sub nom., Barsky v. United States, 167 F.2d 241 (D.C.
11 Cir. 1948) and citing Eastland v. U. S. Servicemen’s Fund, 421 U.S. 491, 509 (1975)).
12 Just as in RNC, Congress here is entitled to “broad discretion.” 2022 WL 1294509, at
13 *21.
14         Dr. Eastman, by contrast, hangs his theory of injury on the presumption that the
15 Select Committee will haphazardly release this information to the public despite the fact
16 that, according to Dr. Eastman himself, this information is irrelevant to the investigation.
17 See Br. at 33 (accusing the Select Committee of disclosing information); id. at 32
18 (claiming that “the emails contain little substance at all, consisting mostly of scheduling,
19 agenda setting, and communicating login information” and “[t]he emails are of little use
20 to the Select Committee’s investigation”).51 This vague theory of injury does not
21
22
23
24    51
     Dr. Eastman’s judgment about relevance has no place in the inquiry. He is in no
25 position to dictate what the Select Committee will determine is relevant. And, even
   accepting the representation that the documents “are of little use to the Select
26 Committee’s investigation,” Br. at 32, the Supreme Court has been clear that “[t]he very
27 nature of the investigative function—like any research—is that it takes the searchers up
   some ‘blind alleys’ and into nonproductive enterprises.” Eastland, 421 U.S. at 509. Dr.
28
   Eastman should not be allowed to undermine that process.
                                                 25
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 35 of 56 Page ID
                                      #:5324


 1 outweigh the Select Committee’s (and the public’s) interest here.52 Accord Exxon Corp.
 2 v. FTC, 589 F.2d 582, 589 (D.C. Cir. 1978) (“The courts must presume that the
 3 committees of Congress will exercise their powers responsibly and with due regard for
 4 the rights of affected parties.”).
 5         And this theory comes nowhere close to overcoming Congress’s “broad discretion
 6 in determining the subject matter of the study and the scope and extent of the inquiry.”
 7 Bryan, 72 F. Supp. at 61; accord Bean LLC v. John Doe Bank, 291 F. Supp. 3d 34, 44
 8 (D.D.C. 2018) (“In determining the proper scope of [a Congressional] Subpoena, [courts]
 9 may only inquire as to whether the documents sought by the subpoena are not plainly
10 incompetent or irrelevant to any lawful purpose [of the Committee] in the discharge of
11 [its] duties.”) (quoting McPhaul v. United States, 364 U.S. 372, 381 (1960)) (internal
12 quotation marks omitted); RNC, 2022 WL 1294509, at *21 (courts addressing
13 constitutional challenge to Congressional subpoena “must be ‘loath to second-guess the
14 Government’s judgment’ about the relevance of the information demanded and the
15 necessity of the burdens imposed”) (quoting Bd. of Trustees of State Univ. of New York v.
16 Fox, 492 U.S. 469, 478 (1989)). 53
17         Dr. Eastman’s fourth bite at the First Amendment apple fails.
18
19    52
      Courts require far more specificity than Dr. Eastman alleges. See Buckley, 424 U.S. at
20 74 (showing an associational injury requires demonstrating “a reasonable probability that
   the compelled disclosure . . . will subject them to threats, harassment, or reprisals from
21
   either Government officials or private parties”); see also John Doe No. 1 v. Reed, 561
22 U.S. 186, 200 (2010); Brock v. Loc. 375, Plumbers Int’l Union of Am., AFL-CIO, 860
   F.2d 346, 350 n.1 (9th Cir. 1988) (Courts have “emphasized in each of those
23
   decisions . . . the need for objective and articulable facts, which go beyond broad
24 allegations or subjective fears. . . . [A] merely subjective fear of future reprisals is an
   insufficient showing of infringement of associational rights.”); accord Clapper v.
25
   Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (holding that a “threatened injury must be
26 certainly impending to constitute injury in fact, and that [a]llegations of possible future
27
   injury are not sufficient”) (internal quotation marks and citation omitted).
   53
      That is a key difference between this case and Perry v. Schwarzenegger, 591 F.3d
28
   1147, 1161 (9th Cir. 2010), which did not involve a Congressional subpoena.
                                               26
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 36 of 56 Page ID
                                      #:5325


 1 II.         Dr. Eastman Has Not Met His Burden to Establish an Attorney-Client or
               Agency Relationship
 2
 3
               Dr. Eastman claims attorney-client privilege over 162 of the disputed documents, 54

 4
      including 148 over which he also claims work-protect protection. Dr. Eastman has not

 5
   met his burden to establish attorney-client privilege over these documents.
         A.    Dr. Eastman Failed to Meet His Burden of Establishing Attorney-Client
 6             Privilege as to the Documents Related to Purported Representation of
 7             Former President Trump or His Campaign
 8             As to his representation of former President Trump, Dr. Eastman’s efforts to shield
 9 documents under the guise of an attorney-client communication fail here for the same
10 reason they failed previously: none of the communications are with President Trump
11 himself and Dr. Eastman failed to meet his burden to establish that the various third
12 parties with whom he communicated were attorneys or agents for President Trump. See
13 ECF 260 at 21. Dr. Eastman also failed to establish that the scope of his representation
14 of former President Trump encompassed the entire period at issue and all documents at
15 issue.
16             1. “[V]oluntarily disclosing privileged documents to third parties will generally
17 destroy the privilege.” In re Pac. Pictures Corp., 679 F.3d 1121, 1126–27 (9th Cir.
18 2012); see also Reiserer v. United States, 479 F.3d 1160, 1165 (9th Cir. 2007) (“there is
19 no confidentiality where a third party . . . either receives or generates the documents.”).
20 Dr. Eastman labels numerous people as co-counsel or agents of a client, but he repeatedly
21 fails to meet his burden to establish any such co-counsel or agency relationship and does
22 not comply with this Court’s May 12, 2022, Order.
23             This Court previously held that Dr. Eastman failed to meet his burden of
24 establishing attorney-client privilege as to the documents over which he previously
25
      54
           Dr. Eastman states he asserted attorney-client privilege “over 113 documents
26 containing communications with agents of former President Trump or with other
27 attorneys working on Trump’s legal team,” Br. at 12, and over “fifty documents where
      the client (or potential client) was other than former President Trump or his campaign
28
      committee,” Id. at 16 (footnote omitted), for a total of 163 under his calculation.
                                                    27
                    CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 37 of 56 Page ID
                                      #:5326


 1 claimed privilege because: (1) “[n]one of th[o]se documents include[d] Dr. Eastman’s
 2 client, President Trump, as a sender or recipient of the email” and “[i]nstead, all emails
 3 are sent from a third party to Dr. Eastman, and two of the emails blind copy (bcc) a close
 4 advisor to President Trump;” and (2) “Dr. Eastman failed to provide retainer agreements
 5 or a sworn declaration that would prove this third party was an attorney or agent for
 6 President Trump.” ECF 260 at 21.
 7         The same is true here. None of the 113 documents for which Dr. Eastman asserts
 8 attorney-client privilege and names President Trump as his client includes President
 9 Trump as a sender or recipient of the email; instead, all 113 emails include third parties. 55
10 Many of these documents include the same third parties that this Court already concluded
11 broke the privilege. See ECF 260 at 21; see, e.g., Chapman055012-14, 055029-31,
12 055050-54, 055112-16, 055127-32, 055012-14, 055029-31, and 055050-54. 56
13         On May 12, this Court ordered that Dr. Eastman file “evidence of all attorney-
14 client and agent relationships asserted in the privilege log,” consisting of
15 contemporaneous “engagement letters, retainer agreements, or other writings” that
16 “confirm the timing and scope of each attorney relationship and each agent
17 relationship.” ECF 343 at 1. Absent such contemporaneous written documentation, Dr.
18 Eastman was ordered to provide “a sworn statement from an attorney, client, or agent in
19 each relationship attesting that written documentation does not exist and specifying the
20 timing and scope of the relationship.” Id. at 2 (emphasis added).
21         Dr. Eastman did not comply with this order and has failed to meet his burden to
22 demonstrate that all the people he alleges served as co-counsel or agents for the former
23
      Dr. Eastman’s declaration claims “[i]t was necessary to communicate with Mr. Trump
      55

24 through agents due to his responsibilities as President of the United States.” Decl. of
   John C. Eastman ¶ 4, May 19, 2022, ECF 346. He then lists three people he labels as
25
   “Presidential staff members.” Id. at ¶ 3(b). The first person listed appears to be the
26 President’s executive assistant and could possibly have been an agent for attorney-client
27
   purposes, the other two had no such administrative role.
   56
      Dr. Eastman asserts work product privilege over these documents as well. For the
28
   reasons discussed in Section III below, those arguments also fail.
                                                 28
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 38 of 56 Page ID
                                      #:5327


 1 President or his campaign did in fact serve in those roles. Dr. Eastman introduced no
 2 engagement letters, retainer or agency agreements, or any other contemporaneous
 3 documents establishing these alleged relationships. Instead, he produced six recent
 4 declarations (one of which is neither signed nor dated) from a narrow subset of those
 5 people he alleges served as co-counsel or agents for the former President or his
 6 campaign to support these purported relationships. That is not enough to meet his
 7 burden.
 8         Dr. Eastman’s own declaration has many deficiencies. Nowhere does Dr.
 9 Eastman “attest[] that written documentation [of the attorney-client or agency
10 relationships] does not exist.” Id. at 2. The declaration alleges that certain people
11 served as agents of President Trump or his campaign, but, contrary to this Court’s order
12 requiring “a sworn statement from an attorney, client, or agent in each relationship,” Dr.
13 Eastman has not provided any statement or other evidence from President Trump, his
14 campaign, or these alleged agents demonstrating the purported relationship. Id. at 2
15 (emphasis added); cf. In re Bonanno, 344 F.2d 830, 833 (2d Cir. 1965) (“[T]he burden of
16 establishing the existence of the relationship rests on the claimant of the privilege
17 against disclosure. That burden is not, of course, discharged by mere conclusory or ipse
18 dixit assertions, for any such rule would foreclose meaningful inquiry into the existence
19 of the relationship, and any spurious claims could never be exposed.”).
20         Dr. Eastman’s declaration similarly includes a conclusory allegation that various
21 people served as “attorneys on the Trump legal team,” but the required attestation or
22 other evidence from President Trump or these individuals verifying the alleged
23 relationships is absent. Decl. of John C. Eastman ¶ 4, May 19, 2022, ECF 346. Similar
24 ipse dixit assertions are made that others assisted with various legal cases on behalf of
25 President Trump, but no statement or other evidence from President Trump or these
26 individuals evidencing a co-counsel or agency relationship is provided.
27         The declaration from an attorney licensed to practice law in Indiana and the five-
28 page declaration from an attorney licensed to practice law in Georgia contain similar

                                                29
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 39 of 56 Page ID
                                      #:5328


 1 inadequacies. Neither “attest[s] that written documentation [of the attorney-client or
 2 agency relationships] does not exist.” ECF 343 at 2. Both declarations allege that
 3 certain individuals were attorneys for President Trump or his campaign, yet no statement
 4 or other evidence from President Trump or these individuals verifying the alleged
 5 relationship is provided.
 6         Moreover, the declaration from the Indiana attorney qualifies this allegation as
 7 being “[t]o the best of [the declarant’s] knowledge and recollection,” while the
 8 declaration from the Georgia attorney qualifies the allegation as being made “[o]n
 9 information and belief.” Decl. of K.A.K. at 2, May 19, 2022, ECF 346; Decl. of K.H. at
10 2-4, May 19, 2022, ECF 346. Both hedges suggest a lack of first-hand knowledge of the
11 alleged relationships and uncertainty regarding their existence, and they cannot suffice
12 as compliance with this Court’s order.
13         The two-page declaration from another attorney similarly names other attorneys
14 with whom the declarant allegedly worked on a litigation matter in which the declarant
15 claims to have represented President Trump, but this declaration does not even allege
16 that these other attorneys served as counsel or agents for President Trump. Moreover,
17 no statement or other evidence from President Trump or these individuals claiming that
18 they had an attorney-client or agency relationship is provided. As with the other
19 declarations, nowhere does this declaration “attest[] that written documentation [of the
20 attorney-client or agency relationships] does not exist.” ECF 343 at 2.
21         Finally, because the declaration assertedly by an attorney licensed to practice law
22 in Pennsylvania is not dated or signed and thus not executed, it is inadequate and should
23 not be relied upon by this Court. Cf. In re W/B Assocs., 307 B.R. 476, 483 (Bankr. W.D.
24 Pa. 2004), aff’d sub nom. Est. Partners, Ltd. v. Leckey, No. 04-cv-1404, 2005 WL
25 4659380 (W.D. Pa. Aug. 31, 2005), aff’d sub nom. In re W/B Assocs., 196 F. App’x 105
26 (3d Cir. 2006) (“An unsigned agreement, in and of itself, raises material questions as to
27 its validity and applicability.”); Solis v. Taco Maker, Inc., No. 1:09-cv-3293, 2013 WL
28

                                                30
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 40 of 56 Page ID
                                      #:5329


 1 4541912, at *5 (N.D. Ga. Aug. 27, 2013) (unsigned engagement letter insufficient to
 2 establish attorney-client relationship). 57
 3             Yet again, Dr. Eastman “has not met his burden to show that these
 4 communications were with [counsel to, or] an agent of President Trump or the Trump
 5 campaign, and as such, these documents do not warrant the protection of the attorney-
 6 client privilege.” ECF 260 at 21.
 7             2. Dr. Eastman also falls short of meeting his burden to establish the sweeping
 8 attorney-client relationship with former President Trump that he asserts. Dr. Eastman
 9 continues to rely on the same unsigned, undated retainer letter—which he now describes
10 as a “draft”—to assert a sweeping attorney-client relationship with former President
11 Trump. Br. at 10. An unsigned, undated engagement letter that by its own language
12 becomes operative when signed58 does not by itself trigger an indefinite attorney-client
13 relationship.
14             Even if all of the above were not true, former President Trump waived any
15 privilege by expressly requesting disclosure to third parties. See ECF 164-1 at 28-30.
16 This Court did not address the wavier issue in its March 28 Order, but Congressional
17 Defendants incorporate by reference their waiver argument in connection with their prior
18 brief. 59
19             This Court concluded that for the January 4-7 timeframe, enough evidence
20 supported an “attorney-client relationship with President Trump and his campaign
21
      57
           Any belated effort by the Dr. Eastman to cure this defect in his reply by appending a
22 signed declaration or engagement letter should not be permitted. See U.S. ex rel. Giles v.
23 Sardie, 191 F. Supp. 2d 1117, 1127 (C.D. Cal. 2000) (“It is improper for a moving party
      to introduce new facts or different legal arguments in the reply brief than those presented
24 in the moving papers.”).
25    58
      See Ex. 2 at 1, Engagement Letter (Dec. 5, 2020), ECF 132-2 (retention letter stating it
26 becomes operative “[u]pon the proper signatures by all parties hereto”).
27
   59
       See ECF 343 at 2 (permitting parties to “cross reference or restate arguments made in
   their previous briefings for the January 4-7, 2021 documents”).
28

                                                    31
                    CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 41 of 56 Page ID
                                      #:5330


 1 between January 4 and 6, 2021.” ECF 260 at 14. But Dr. Eastman’s court appearance on
 2 January 5 and his attendance in meetings “[i]n the days leading up to January 6” are not
 3 enough for Dr. Eastman to meet his burden of establishing (1) an attorney client-
 4 relationship from November 3, 2020 to January 20, 2021, and (2) that the specific
 5 documents over which he claims attorney-client privilege fall within the scope of the
 6 representation. Indeed, Dr. Eastman has yet to introduce any evidence describing the
 7 scope of his representation.
 8          Dr. Eastman did enter some court appearances on behalf of President Trump
 9 during this timeframe, but he has fallen short of meeting his burden to establish the
10 overall scope of his representation and how each document over which he asserts
11 attorney-client privilege fell within that scope. For the first time, Dr. Eastman attempts
12 to link particular documents to particular cases. Because Congressional Defendants have
13 not seen these documents, they cannot evaluate whether they establish the attorney-client
14 relationship Dr. Eastman describes. In any event, even if Dr. Eastman has demonstrated
15 an attorney-client relationship, many of the communications were in furtherance of a
16 crime or fraud and are thus not protected. See Section I.A, supra.
17
            B.     Dr. Eastman Has Not Met His Burden to Establish the Attorney-Client
18                 Relationship as to Documents Related to Other Purported Clients
19
            Beyond his claims of privilege related to representation of President Trump or his
20
      campaign, Dr. Eastman asserts that he has claimed attorney-client privilege over
21
      communications with “9 different clients or potential clients who were seeking Dr.
22
      Eastman’s legal advice,” including seven state legislators, a party committeewoman, and
23
      a citizen coordinating information sessions for state legislators. Br. at 16.
24
            Here, too, Dr. Eastman has not met his burden to establish that his communications
25
      with purported clients, or potential clients, are privileged and has failed to comply with
26
      this Court’s May 12 order. Dr. Eastman has not introduced any engagement letter,
27
      retainer agreement, or other contemporaneous writing reflecting these purported potential
28

                                                   32
                  CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 42 of 56 Page ID
                                      #:5331


 1 or actual representations. And Dr. Eastman’s own declaration is insufficient to satisfy
 2 the Court’s order. Its perfunctory assertions merely claim that he had privileged
 3 communications with various parties, and it does not “attest[] that written documentation
 4 does not exist” nor does it “specify[] the timing and scope of the relationship.” ECF 343
 5 at 2 (emphasis added).
 6          Dr. Eastman’s declaration not only fails to satisfy the Court’s order, but it also
 7 appears misleading. For instance, of the first three people with whom Dr. Eastman
 8 claims to have spoken “about potential representation,” Pl. Decl. ¶15, ECF 346, the third
 9 has been in contact with the Select Committee through separate counsel. This separate
10 counsel has informed the Select Committee that this third person “never retained nor
11 considered retaining Dr[.] John Eastman.”60 Rather, the person “contacted Dr[.] Eastman
12 merely to correct Eastman’s incorrect publicly stated position on the [Pennsylvania]
13 Constitution,” and “never had any attorney-client privileged communications” with Dr.
14 Eastman. 61 In fact, this third person has produced to the Select Committee documents
15 that appear to match those described in Dr. Eastman’s consolidated privilege log as
16 “Comm with agent and potential clients re follow-up from conference call on possible
17 legal consultation.” Chapman023582.
18          As this Court has noted, the privilege relies in part on “‘whether the client believed
19 an attorney-client relationship existed.’” ECF 260 at 14 (quoting Boskoff v. Yano, 57 F.
20 Supp. 2d 994, 998 (D. Haw. 1998)). In short, Dr. Eastman has not come close to meeting
21 his burden to demonstrate that documents he alleges are related to purported actual or
22 prospective clients other than President Trump are protected by attorney-client privilege.
23          The vague statement in Dr. Eastman’s declaration that he spoke with three people
24 “about potential representation” and that they “had privileged communications,” Pl. Decl.
25 ¶15, is problematic for other reasons as well. The declaration does not clarify whether
26 Dr. Eastman spoke with some or all of the three people together or separately, nor what
27
      60
         Ex. V, Mar. 10, 2022 at 1.
28
      61
         Id.
                                                  33
                 CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 43 of 56 Page ID
                                      #:5332


 1 or whose potential representation was orally discussed. Moreover, its ipse dixit assertion
 2 of a legal conclusion that is the subject of this litigation and for the Court to determine
 3 (“[w]e had privileged communications”), which appears repeatedly in the Dr. Eastman’s
 4 declaration, is inadequate. Id.; see In re Bonanno, 344 F.2d at 833; Pl. Decl. ¶¶ 16, 17,
 5 19.
 6         The similar imprecise statement in Dr. Eastman’s declaration that he had allegedly
 7 privileged communications with an individual and that individual’s alleged agent about a
 8 potential representation, Pl. Decl. ¶17, likewise fails to meet his burden. Moreover, with
 9 regard to this alleged agency relationship, the lack of a sworn statement from the
10 individual or the individual’s agent results, as explained above, in Dr. Eastman failing
11 both to comply with this Court’s May 12 order and to meet his burden to establish any
12 communications were privileged given the presence of a third party. See In re Pac.
13 Pictures Corp., 679 F.3d at 1126–27.
14         The statements in Dr. Eastman’s declaration that he offered pro bono legal advice
15 to two people fail to comply with this Court’s order and to meet his burden to establish
16 that any related documents are privileged. See Pl. Decl. ¶¶18, 20. Dr. Eastman has not
17 produced “a sworn statement from an attorney, client, or agent in each relationship
18 attesting that written documentation does not exist and specifying the timing and scope of
19 the relationship.” ECF 343 at 2. The declaration does not address whether any written
20 documentation exists, and although the months in which the legal advice was offered are
21 listed, the scopes of the relationships are not adequately specified. See id. Again, Dr.
22 Eastman has failed to establish that his communications with his purported actual or
23 potential clients are privileged; the associated documents do not warrant protection.
24         C.    At the Very Least, Dr. Eastman Must Produce Redacted Versions of
25
                 Email Threads

26         Dr. Eastman asserts that he withheld entire email threads (even though he asserted
27 privilege over only a portion of the thread) because Dr. Eastman deemed the non-
28

                                                 34
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 44 of 56 Page ID
                                      #:5333


 1 privileged portions to be “innocuous.” Br. at 12 n.16. That is not how privilege
 2 productions work.
 3            “It is not proper to withhold an entire document from discovery on grounds that a
 4 portion of it may be privileged. Where a document purportedly contains some privileged
 5 information, the unprivileged portions of the document must be produced during
 6 discovery.” Breon v. Coca-Cola Bottling Co. of New England, 232 F.R.D. 49, 55 (D.
 7 Conn. 2005). “The proper procedure in such instances is to redact the allegedly
 8 privileged communication, and produce the redacted document. The allegedly privileged
 9 information then should be described in a properly executed privilege log.” Id.; see also
10 Anderson v. Trustees of Dartmouth Coll., No. 19-cv-109, 2020 WL 5031910, at *2
11 (D.N.H. Aug. 25, 2020) (“The applicable law is straight-forward: ‘If the nonprivileged
12 portions of a communication are distinct and severable, and their disclosure would not
13 effectively reveal the substance of the privileged legal portions, the court must designate
14 which portions of the communication are protected and therefore may be excised or
15 redacted (blocked out) prior to disclosure.”) (quoting Paul Rice, Attorney-Client Privilege
16 in the United States § 11:21 (2014)). 62
17            Dr. Eastman must produce the withheld documents with material over which he
18 was asserting privilege redacted, rather than withholding those email threads in their
19 entirety.
20
21
      62
           Durling v. Papa John’s Int’l, Inc., No. 16-cv-3592, 2018 WL 557915, at *9 (S.D.N.Y.
22 Jan. 24, 2018) (where party had not “adequately demonstrated that, under the
23 circumstances, reviewing and redacting the [email] strings at issue would be unduly
      burdensome,” it was not permitted to “withhold the entirety of a conversation merely
24 because one portion of such communication is subject to privilege”; rather, the defendant
25 was under an obligation to “selectively redact the document in question and produce any
      non-privileged portions”) (internal quotation marks and citation omitted); accord Fed. R.
26 Civ. P. 34(b)(2)(C) (“An objection to part of a [discovery] request must specify the part
27 and permit inspection of the rest.”); id. 1993 Amendment (the rule “make[s] clear that, if
      a request for production is objectionable only in part, production should be afforded with
28
      respect to the unobjectionable portions”).
                                                   35
                    CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 45 of 56 Page ID
                                      #:5334


 1
      III.     Dr. Eastman Has Not Met His Burden to Establish Protection of the Work
               Product Doctrine
 2
 3
               “The work-product doctrine is a qualified privilege that protects from discovery

 4
      documents and tangible things prepared by a party or his representative in anticipation of

 5
      litigation.” United States v. Sanmina Corp., 968 F.3d 1107, 1119 (9th Cir. 2020)

 6
      (internal quotation marks and citation omitted). To qualify for work-product protection,

 7
      documents must: “(1) be prepared in anticipation of litigation or for trial and (2) be

 8
      prepared by or for another party or by or for that other party’s representative.” United
      States v. Richey, 632 F.3d 559, 567 (9th Cir. 2011) (internal quotation marks and citation
 9
      omitted). Dr. Eastman claims protection of the work product doctrine over 557
10
      documents. As with many in the prior batch of documents, Dr. Eastman has failed to
11
      meet his burden to prove applicability of the work-product doctrine.
12
               Dr. Eastman’s expansive assertions of work-product privilege appear to hinge on
13
      two flawed presumptions. First, anything that might eventually result in litigation meets
14
      the “prepared in anticipation of litigation” requirement. Second, that “conduit to an
15
      adversary” must be read so narrowly that it will not apply so long as a party shares the
16
      document with someone he thinks may be likeminded. Even if Dr. Eastman properly
17
18
      invoked the work product doctrine, however, the Select Committee’s substantial need

19
      overcomes that protection.

20             A.    Dr. Eastman Failed to Meet His Initial Burden to Invoke the Work
                     Product Doctrine
21
22
               Dr. Eastman fails in his initial burden to invoke work product protection for two
      reasons. First, many of the documents were prepared for political purposes, not in
23
      anticipation of litigation. Second, Dr. Eastman leaves gaping holes in his analysis
24
      attempting to link particular documents to co-counsel or agents in the various lawsuits he
25
26
      cites.

27
               1. Dr. Eastman falls far short of meeting his burden to show that the documents at

28
      issue were prepared in anticipation of litigation. As this Court already explained, “Dr.

                                                    36
                    CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 46 of 56 Page ID
                                      #:5335


 1 Eastman used evidence of alleged election fraud for two purposes: to support state
 2 litigation and to persuade legislators and Vice President Pence to act. Despite those
 3 possible dual purposes, these emails do not suggest that Dr. Eastman used them for
 4 litigation, make no mention of litigation, and would have had the same form without the
 5 prospect of litigation.” ECF 260 at 26. This appears to be true of the documents over
 6 which Dr. Eastman now attempts to invoke work product protection.
 7         Many of the documents appear to relate to Dr. Eastman’s Electoral Count Act plan
 8 and his efforts to persuade elected officials to simply discard the results of the 2020
 9 election. These documents were animated by political strategy, and not created in
10 anticipation of litigation. See ECF 260 at 23-25. Because Dr. Eastman has not
11 established that the documents were created in anticipation of litigation, they must be
12 produced. See ECF 260 at 25.
13         Dr. Eastman insists that this Court should revisit and reverse its prior holding that
14 Dr. Eastman’s efforts to secure alternate slates of electors from various states were not in
15 anticipation of litigation. See Br. at 24-27. Dr. Eastman claims that “the Electoral Count
16 Act and the 12th Amendment place Congress in an adjudicative capacity with respect to
17 the validity of the states’ electors.” Br. at 26. This argument is flawed in three respects.
18         First, Dr. Eastman cites no authority for his “legislative equivalent of litigation”
19 theory that Congress transforms into an adjudicative body when it weighs alternate slates
20 of electors. Br. at 25.
21         Second (and most fatal to his argument), Dr. Eastman’s theory depends on events
22 that never occurred: states actually submitting alternate slates of electors. Not a single
23 state submitted certificates or papers purporting to be certificates of the electoral votes
24 in connection with the 2020 Presidential election, so Congress’s power to weigh
25 alternate slates of electors—whether or not that is an adjudicative process—was never
26 triggered.
27         Third, Dr. Eastman’s actions were not an effort to participate in an adjudicative
28 process (such that they might be eligible for work product privilege protection); they

                                                 37
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 47 of 56 Page ID
                                      #:5336


 1 were instead criminal acts subject to the crime-fraud exception and, thus, not protected
 2 by a privilege. See Section I(A), supra. The evidence establishes that Dr. Eastman did
 3 not merely serve as a lawyer providing legal advice about what happens when states
 4 submit alternate slates of electors. Instead, Dr. Eastman played an active role in trying to
 5 materialize alternate slates of electors. Dr. Eastman affirmatively urged state legislators
 6 from states won by President Biden to “decertify” electors. See ECF 260 at 4. And when
 7 that effort failed, Dr. Eastman and former President Trump attempted to persuade the
 8 then-Vice President to disrupt the electoral count. See id. at 6-8. Even if Congress acts
 9 in some adjudicative capacity when it weighs alternate slates of electors, a lawyer’s
10 efforts to corrupt that process do not become attorney work product entitled to protection.
11         2. For the first time in this litigation, Dr. Eastman now attempts to link certain
12 documents to particular lawsuits. See Br. at 29-34. Because Congressional Defendants
13 have no access to those documents, they cannot confirm Dr. Eastman’s representations,
14 nor can they fully examine whether the numerous people included on these
15 communications were adversaries or conduits to adversaries. Some deficiencies,
16 however, are obvious even from the limited information available to Congressional
17 Defendants.
18         For example, in his effort to link documents to Donald J. Trump for President, Inc.
19 v. Boockvar, Dr. Eastman claims that 14 documents involve communications among an
20 unidentified list of attorneys (who Dr. Eastman claims “made formal appearances or
21 otherwise assisted with the litigation”) and a team of experts and attorneys conducting
22 statistical and other technical analyses in support of the litigation. Br. at 19. To support
23 that proposition, he cites Paragraph 11 of his own declaration which states, “[o]n
24 information and belief, everyone included on those group emails was volunteering their
25 expertise in support of the Trump legal efforts.” Pl. Decl. ¶ 11, ECF 346 (emphasis
26 added).
27         Nowhere does Dr. Eastman introduce common interest agreements, retention
28 letters, agency agreements, or any other contemporaneous evidence supporting this

                                                 38
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 48 of 56 Page ID
                                      #:5337


 1 representation. Dr. Eastman does not identify the specific attorneys, where they
 2 practiced, the dates of their involvement, or (for many) whether they even appeared in the
 3 litigation. His representation on “information and belief ” alone is insufficient. See also
 4 Br. at 19-20 (citing K.H. Decl. ¶¶ 4-6 for the proposition that certain emails were
 5 “communications among the team of statistical and other experts providing assistance to
 6 the legal team on the litigation,” but those paragraphs of the declaration are made only
 7 “on information and belief”). Elsewhere too, Dr. Eastman summarily asserts that his
 8 communications were with “the Trump legal team who entered appearances in or
 9 otherwise assisted with the case,” Br. at 19, but nowhere does he identify when these
10 people entered appearances in the case or (for those who did not enter appearances)
11 explain their role and how they were connected to the case.
12             Dr. Eastman also identifies communications where a “a non-lawyer officer of the
13 non-profit with which they are affiliated, and who cannot be viewed as a conduit to an
14 adversary, was copied.” Id. 63 Dr. Eastman does not identify the non-profit nor does he
15 explain the affiliation with the non-profit or what the non-lawyer officer’s interest was in
16 the litigation. Without knowing this information, it is impossible to determine whether
17 this person could be an adversary or conduit to an adversary.
18             Dr. Eastman also asserts that the email exchanges “included several non-attorney
19 individuals who were either employed by the Trump campaign or working under
20 agreement with the Trump legal team to assist in gathering information for the
21 anticipated litigation.” Br. at 19-20 (citing bates numbers 21854, 62657). Nowhere,
22 however, does he describe these people’s affiliation with the Trump campaign—and he
23 includes no agreements with the Trump legal team reflecting these relationships. Of the
24 nine people included on these emails (as evident from the privilege log), only one has a
25 “@donaldtrump.com” email address. Some have “@gmail.com” addresses, two have
26
27
28    63
           It is unclear from Dr. Eastman’s representation whom “they” refers to.
                                                   39
                    CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 49 of 56 Page ID
                                      #:5338


 1 “@teapartypatriots.org” email addresses, and one has a “@gagop.org” email address.64
 2 Dr. Eastman, moreover, states that he engaged in communications with “another attorney
 3 with whom he was collaboratively discussing legal issues in the litigation,” but their
 4 communications were “transmitted via intermediaries (a family member of the lawyer
 5 and a mutual friend),” Br. at 21; id. at 22 (noting one of the “intermediaries” used for the
 6 communications was “a family member of the lawyer”).
 7         These representations are insufficient to meet Dr. Eastman’s burden of establishing
 8 application of the work product doctrine.
 9         B.    Dr. Eastman Waived His Claims to Protection of the Work Product
10               Doctrine
11         For any documents that were indeed prepared in anticipation of litigation, work-
12 product protection is unavailable if that privilege was waived. Dr. Eastman shared these
13 materials broadly, circulating them to scores of people he perceived to be likeminded.
14 See Section III(A), supra. Implicit in Dr. Eastman’s argument is the assumption that
15 because the numerous people with whom he shared this “work product” were
16 likeminded, sharing this material widely would not break work product protection.
17         Importantly for this case, voluntary disclosure waives protection of the work
18 product doctrine “when such disclosure is made to an adversary or is otherwise
19 inconsistent with the purpose of work-product doctrine—to protect the adversarial
20 process.” Sanmina Corp., 968 F.3d at 1120. “[D]isclosing work product to a third party
21 may waive the protection where ‘such disclosure, under the circumstances, is inconsistent
22 with the maintenance of secrecy from the disclosing party’s adversary.’” Id. at 1121
23 (quoting Rockwell Int’l Corp. v. U.S. Dep’t of Just., 235 F.3d 598, 605 (D.C. Cir. 2001)).
24
25
26   Dr. Eastman states, “[s]ome are specially marked ‘Attorney Work Product privilege’ in
      64

27 the subject line.” Br. at 24. Because Dr. Eastman did not provide subject lines of the
   documents on his privilege logs, Dr. Eastman made it difficult for Congressional
28
   Defendants to determine the validity of his privilege claims.
                                                40
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 50 of 56 Page ID
                                      #:5339


 1 “Under this standard, the voluntary disclosure of attorney work product to an adversary
 2 or a conduit to an adversary waives work-product protection for that material.” Id.
 3         The “maintenance of secrecy” standard involves “two discrete inquiries in
 4 assessing whether disclosure constitutes waiver.” Sanmina Corp., 968 F.3d at 1121
 5 (quoting United States v. Deloitte LLP, 610 F.3d 129, 141 (D.C. Cir. 2010)). First,
 6 “whether the disclosing party has engaged in self-interested selective disclosure by
 7 revealing its work product to some adversaries but not to others. If so, [s]uch conduct
 8 militates in favor of waiver” as a matter of basic fairness. Id. (internal quotation marks
 9 and citation omitted). Second, “whether the disclosing party had a reasonable basis for
10 believing that the recipient would keep the disclosed material confidential.” Id.
11         A party waives work product privilege if he or she discloses work product to a
12 third party such that disclosure “has substantially increased the opportunities for potential
13 adversaries to obtain the information.” Sanmina Corp., 968 F.3d at 1121 (quoting 8
14 Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure § 2024 (3d ed.
15 2020)). Waiver involves a “fact-intensive analysis” which “requires a consideration of
16 the totality of the circumstances and is ultimately guided by the same principle of
17 fundamental fairness that underlies much of our common law doctrine on waiver by
18 implication.” Id. at 1122.
19         Dr. Eastman shared these materials so widely that it substantially increased the
20 opportunities for potential adversaries to obtain the information. He also engaged in
21 selective disclosures that shared these documents so widely that he did not have a
22 reasonable basis for believing the material would be kept confidential.
23         1. Dr. Eastman shared these materials widely among state legislators. Doing so
24 “substantially increased the opportunities for potential adversaries to obtain the
25 information.” Sanmina, 968 F.3d at 1121.
26         To the extent Dr. Eastman assumed he could broadly share these materials with
27 likeminded individuals (who preferred a second Trump term to a Biden victory), that
28 assumption does not overcome waiver. Elected officials swear an oath to preserve the

                                                41
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 51 of 56 Page ID
                                      #:5340


 1 Constitution (see U.S. Const., Art. VI, cl. 3), and Dr. Eastman’s presumption that anyone
 2 who preferred a second Trump term would be likeminded enough to attempt to change
 3 their state’s electors is obviously not well-founded. Georgia’s Secretary of State Brad
 4 Raffensperger provides a perfect example. He stated publicly that he would have
 5 preferred that Trump win the 2020 election, but he was unwilling to go along with a
 6 scheme to undermine the results of the election in his State.65 Elected officials in states
 7 won by President Biden are thus potential adversaries on the issue of alternative slates of
 8 electors.
 9         2.    Dr. Eastman also used this material to pressure the Vice President. Sharing
10 work product with the Vice President and his team also “substantially increased the
11 opportunities for potential adversaries to obtain the information.” Sanmina, 968 F.3d at
12 1121. The Vice President and his staff were in fact adversaries on whether the Vice
13 President had unilateral power to simply declare the election in favor of the former
14 President or, at the very least, postpone the vote. Neither former President Trump nor
15 Dr. Eastman had “a reasonable basis for believing that [the Vice President or his team]
16 would keep the [materials about the alternate elector plan] confidential.” Id. at 1121. In
17 fact, evidence shows that the Vice President’s team did not keep this material
18 confidential.66
19         Dr. Eastman’s narrow reading of adversary or conduit to an adversary makes little
20 sense in the context of the electoral count process. Dr. Eastman’s “plan [was] to proceed
21 without judicial involvement.” ECF 260 at 23. So, to say Dr. Eastman is entitled to
22 share materials broadly under work product protection because material has not been
23
       See Letter from Sec’y of State Brad Raffensperger to Congress at 2 (Jan. 6, 2021),
      65

24 https://perma.cc/C2HS-VRU7; see also Mark Niess, Georgia Elections Chief Counters
   False Claims in Letter to Congress, Atlanta J.-Const. (Jan. 7, 2021),
25
   https://perma.cc/5G4M-C757.
26 66 See, e.g., The never-before-told backstory of Pence’s Jan. 6 argument, Politico (Feb.
27 18, 2022, 5:00 AM), https://perma.cc/AQY7-KAXZ (explaining that Vice President’s
   outside counsel called a former judge and revealed Dr. Eastman’s plan to disrupt the
28
   electoral count).
                                                42
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 52 of 56 Page ID
                                      #:5341


 1 disclosed to an adversary in litigation means little—when there is no litigation, there is
 2 no adversary to litigation. In invoking a litigation doctrine (work product protection) in
 3 the context of a legislative subpoena, Dr. Eastman cannot now insist that the definition of
 4 adversary be confined to a litigation adversary. In the context of a legislative subpoena,
 5 therefore, any definition of adversary must be read broadly.
 6         3.    Finally, the facts of this particular case and basic fairness support waiver.
 7 “[U]nder the totality of the circumstances, [Dr. Eastman] acted in such a way that is
 8 inconsistent with the maintenance of secrecy” against the Select Committee regarding the
 9 contested documents. Sanmina, 968 F.3d at 1124. By sharing with so many people, any
10 work product immunity was waived because Dr. Eastman’s conduct “reached a ‘certain
11 point of disclosure’ towards [likely] adversary[ies] such that ‘fairness requires that his
12 privilege shall cease, whether he intended that result or not.’” Id. at 1122 (quoting Weil ,
13 647 F.2d at 24).
14         At the very least, sharing this “work product” so widely constitutes an implied
15 waiver because it is inconsistent with the maintenance of secrecy against an adversary.
16 Sanmina, 968 F.3d at 1123 (“an express waiver generally occurs by disclosure to an
17 adversary, while an implied waiver occurs by disclosure or conduct that is inconsistent
18 with the maintenance of secrecy against an adversary.”). Permitting Dr. Eastman to share
19 his information so widely and then claim work-product privilege enables him to “us[e]
20 the privilege as both a shield and a sword.” Bittaker v. Woodford, 331 F.3d 715, 719 (9th
21 Cir. 2003).
22         C.    The Select Committee Has a Substantial Need for the Documents and
23               Cannot Obtain the Substantial Equivalent of the Documents Without
                 Undue Hardship
24
25         In any event, the Select Committee has a substantial need for the documents and
26 cannot, without undue hardship, obtain their substantial equivalent by other means. See
27 Admiral Ins. Co. v. U.S. Dist. Ct. for Dist. of Ariz., 881 F.2d 1486, 1494 (9th Cir. 1989)
28 (“work-product materials nonetheless may be ordered produced upon an adverse party’s

                                                 43
                 CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 53 of 56 Page ID
                                      #:5342


 1 demonstration of substantial need or inability to obtain the equivalent without undue
 2 hardship.”). As the Select Committee’s investigation has progressed, the importance of
 3 Dr. Eastman’s role has only become more evident.
 4         Dr. Eastman played an active role in attempting to convince state legislators in
 5 states won by President Biden to reject the election results and “decertify” those electors.
 6 When that effort failed, Dr. Eastman played a key role trying to encourage Vice President
 7 Pence to either reject the electors from several states or to postpone certification (so that
 8 Dr. Eastman, President Trump, and their co-conspirators would have more time to recruit
 9 state legislators who would concoct slates of Trump electors). Dr. Eastman’s “strategy,
10 mental impressions and opinion” concerning these efforts “are directly at issue” in the
11 Select Committee’s investigation. Reavis v. Metro. Prop. & Liab. Ins. Co., 117 F.R.D.
12 160, 164 (S.D. Cal. 1987). How his and his associates’ conduct intersected with or
13 evaded our current laws—both civil and criminal—is of great importance to the Select
14 Committee as it develops recommendations.
15                                       CONCLUSION
16         For the reasons set forth above, Dr. Eastman’s claims of privilege should be
17 rejected, leaving Chapman University free to comply with the House subpoena at issue
18 here as it has stated it wishes to do.
19
20
21
22
23
24
25
26
27
28

                                                 44
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 54 of 56 Page ID
                                      #:5343


 1
 2                                         Respectfully submitted,

 3                                         /s/ Douglas N. Letter
 4                                         DOUGLAS N. LETTER
                                             General Counsel
 5                                         TODD B. TATELMAN
 6                                           Principal Deputy General Counsel
                                           ERIC R. COLUMBUS
 7                                           Special Litigation Counsel
 8                                         MICHELLE S. KALLEN
                                             Special Litigation Counsel
 9                                         STACIE M. FAHSEL
10                                           Associate General Counsel
11                                         OFFICE OF GENERAL COUNSEL
12                                         U.S. HOUSE OF
                                           REPRESENTATIVES
13                                         5140 O’Neill House Office Building
14                                         Washington, D.C. 20515
                                           (202) 225-9700
15                                         Douglas.Letter@mail.house.gov
16
                                           -and-
17
18
                                           SHER TREMONTE LLP
19
                                           Justin M. Sher
20                                         Michael Tremonte
                                           Noam Biale
21
                                           Maya Brodziak
22                                         Kathryn E. Ghotbi
                                           90 Broad Street, 23rd Floor
23
                                           New York, New York 10004
24                                         (212) 202-2600
                                           JSher@shertremonte.com
25
                                           MTremonte@shertremonte.com
26                                         NBiale@shertremonte.com
27
                                           MBrodziak@shertremonte.com
                                           KGhotbi@shertremonte.com
28

                                            45
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 55 of 56 Page ID
                                      #:5344


 1                                         -and-
 2
 3                                         ARNOLD & PORTER
                                           John A. Freedman
 4                                         Paul Fishman
 5                                         Amy Jeffress
                                           601 Massachusetts Ave, NW
 6                                         Washington, D.C. 20001
 7                                         (202) 942-5000
                                           John.Freedman@arnoldporter.com
 8                                         Paul.Fishman@arnoldporter.com
 9                                         Amy.Jeffress@arnoldporter.com
10
11 Dated: May 26, 2022
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                            46
                CONGRESSIONAL DEFENDANTS’ MEMORANDUM OF LAW
     Case 8:22-cv-00099-DOC-DFM Document 350 Filed 05/26/22 Page 56 of 56 Page ID
                                      #:5345

 1                              CERTIFICATE OF SERVICE
 2
                       WASHINGTON, DISTRICT OF COLUMBIA
 3       I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:
 5         OFFICE OF GENERAL COUNSEL
           U.S. HOUSE OF REPRESENTATIVES
 6         5140 O’Neill House Office Building
 7
           Washington, D.C. 20515

 8       On May 26, 2022, I served the CONGRESSIONAL DEFENDANTS’ BRIEF IN
   OPPOSITION TO PLAINTIFF’S PRIVILEGE ASSERTIONS on the interested
 9 parties in this action:
10
           Anthony T. Caso
11         Constitutional Counsel Group
12
           174 W Lincoln Ave #620
           Anaheim, CA 92805-2901
13         atcaso@ccg1776.com
14
           Charles Burnham
15         Burnham & Gorokhov PLLC
16         1424 K Street NW, Suite 500
           Washington, DC 20005
17         charles@burnhamgorokhov.com
18
           Attorneys for Plaintiff John C. Eastman
19
20        (BY E-MAIL OR ELECTRONIC TRANSMISSION)
21
            The document was served on the following via The United States District Court –
            Central District’s CM/ECF electronic transfer system which generates a Notice
22          of Electronic Filing upon the parties, the assigned judge, and any registered user
            in the case:
23
24        (FEDERAL) I declare under penalty of perjury that the foregoing is true and
                    correct, and that I am employed at the office of a member of
25                  the bar of this Court at whose direction the service was made.
26
           Executed on May 26, 2022 here, at Bethesda, Maryland.
27
28                                                   /s/ Douglas N. Letter


                                    CERTIFICATE OF SERVICE
